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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




               STATE DEFENDANTS’ BRIEF IN RESPONSE TO
          OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX W
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             UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF TEXAS
                  SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO,        *
et al.,                            *
         Plaintiffs,               *
                                   *
v.                                 *   Civil Action No.
                                   *   5:21-cv-844 (XR)
STATE OF TEXAS, et al.,            *
         Defendants.               *



****************************************************

      ORAL AND VIDEOTAPED 30(b)(6) DEPOSITION OF
       THE DALLAS COUNTY ELECTIONS ADMINISTRATOR
        THROUGH ITS DESIGNATED REPRESENTATIVE,
                   MICHAEL SCARPELLO
                    APRIL 13, 2023

****************************************************



                 DEPOSITION of MICHAEL SCARPELLO,

produced as a witness at the instance of the

Plaintiffs, and duly sworn, was taken in the

above-styled and numbered cause on the 13th day of

April, 2023, from 10:20 a.m. to 2:25 p.m., before

Christy R. Sievert, CSR, RPR, in and for the State

of Texas, reported by machine shorthand, at the

offices of the Dallas County Records Building, 500

Elm Street, Dallas, Texas, pursuant to the Federal

Rules of Civil Procedure and the provisions stated

on the record or attached hereto.
                   Case 5:21-cv-00844-XR Document 1129-2 Filed 04/29/24 Page 3 of 69

                                                            18                                                               20
 1   2022 general election, correct?                              1   I think an 8.5 by 11 or -- 8.5 by 14-inch insert
 2      A. Correct.                                               2   with verbiage from top to bottom, as well as the
 3      Q. Did you use the same polling places for                3   vote by mail envelope being chock-full of verbiage
 4   early voting that you did for election day?                  4   also. And it's been my experience that when you do
 5      A. We used a certain amount of polling places             5   that -- when you have that sort of thing, no one
 6   for early voting and then additional -- then used            6   reads anything, and, thus, the compliance with those
 7   those also plus additional ones for election day. I          7   rules is -- is not good.
 8   think it was 50 early voting places and 469 election         8          And so what we did is we summarized on
 9   day.                                                         9   a -- we put on a pink sheet step-by-step
10      Q. And on election day, were you polling                 10   instructions to help voters understand what the
11   places vote centers?                                        11   requirements were. And using kind of the best
12      A. Yes.                                                  12   practices, plain language, getting it down to a, you
13      Q. And for early voting, were your 50 polling            13   know, fifth, sixth grade level so that people can
14   places, 50ish, were they vote centers as well?              14   understand what they need to do to return that mail
15      A. Yes.                                                  15   ballot.
16      Q. And it's correct to say that you used vote            16       Q. And so did you have a name for that insert?
17   by mail for certain voters for the 2022 general             17   What did you call that insert?
18   election, correct?                                          18       A. Abbreviated instructions.
19      A. Yes.                                                  19       Q. Who created the abbreviated instructions?
20      Q. Do you know approximately what percent of             20       A. I did.
21   ballots were cast by mail in the 2022 general               21       Q. And did you work with other members of your
22   election?                                                   22   staff --
23      A. I do not. I don't recall.                             23       A. Yes.
24      Q. Did you send applications for ballot by               24       Q. -- in consultation?
25   mail for the 2022 general to any voters who had not         25       A. Yes.




                                                            19                                                               21
 1   requested an application --                                  1      Q. Did the abbreviated instructions address
 2       A. No.                                                   2   the requirement to provide an identification number
 3       Q. -- for ballot by mail?                                3   on the mail ballot --
 4       A. No.                                                   4      A. Yes.
 5       Q. Do you know whether in 20- -- do you know             5      Q. -- material?
 6   whether your practice in the 2022 general election           6         Did you instruct the voter to provide one
 7   of not sending unsolicited ABBMs was different than          7   ID number or two ID numbers?
 8   Dallas County's practice in 2020?                            8      A. We instructed them to -- we advised them to
 9       A. I don't believe so.                                   9   provide both numbers.
10       Q. For the 2022 general election, did you               10      Q. Does the Secretary of State's material
11   include any inserts along with either ABBMs or mail         11   advise the voter to provide both?
12   ballots that were intended to inform voters about           12      A. I don't recall, but I don't think so.
13   requirements under SB1?                                     13      Q. Did you provide the abbreviated
14       A. Yes.                                                 14   instructions sheet in languages other than English?
15       Q. Can you tell me about those inserts?                 15      A. I believe so. I can't remember, but I -- I
16       A. The Texas ABBM -- this is in the -- in the           16   believe so, yes.
17   mail ballot packet, if that's what you're referring         17      Q. Would Ms. Tacoma Phillips know?
18   to.                                                         18      A. Yes.
19       Q. Either. Either you included it when you              19      Q. I will ask her that question.
20   sent someone an application for ballot by mail or           20         Did the Secretary of State provide you
21   you included it when you sent someone the mail              21   guidance on including additional materials in your
22   ballot packet?                                              22   mail ballot packet to assist voters in meeting the
23       A. Okay. In the mail ballot packet, we find             23   new ID requirements?
24   that the items provided by the Secretary of State,          24      A. No.
25   the required items are incredibly user unfriendly.          25      Q. Did you send any similar inserts to voters




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                                            www.integritylegal.support
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                                                            130                                                              132
 1      A. Yes.                                                    1   rejection rate compared to the primary elections,
 2      Q. And do you recall saying that the turnout               2   correct?
 3   rate for mail voting as compared to overall voting            3      A. Correct.
 4   was down in November 2022?                                    4      Q. And it was able to reduce its rejection
 5      A. That's my -- my vague memory of it is yes.              5   rates as compared to the primary runoff and the May
 6      Q. Okay. What did you mean by "previous                    6   election, correct?
 7   elections"? What was your comparison?                         7      A. Correct.
 8      A. Well, prior to going into an election, I                8      Q. And you -- Dallas County will be continuing
 9   talked about how we project and we do our                     9   to work to reduce the number of rejection rates in
10   projections. So we look at similar type of                   10   elections going forward, correct?
11   elections over the last several years. And not only          11      A. Correct.
12   the overall turnout but turnout by type and then             12      Q. You still have rejections due to lack of
13   turnout by location. My general impression is that           13   signature, mismatched signature or statement of
14   vote by mail, we -- the projections weren't -- the           14   residence; is that correct?
15   actual numbers weren't as high as we projected based         15      A. Yes.
16   off of historic turnout.                                     16      Q. Will you be working to decrease those
17      Q. Do you know if these voters would have                 17   rejections as well?
18   voted in person?                                             18      A. Yes.
19      A. Don't know.                                            19      Q. Do you know what the cure process was
20      Q. And when you said you were looking at the              20   perSB1?
21   past elections in your analysis for projection, was          21      A. I'm vaguely familiar with it.
22   that looking at midterm elections, or did that also          22      Q. Do you expect the rejection rate to ever be
23   include looking at presidential?                             23   zero?
24      A. We look at all elections but focus on the              24      A. Rejection rate for applications or carrier
25   similar type of election. But I will say that                25   envelopes?




                                                            131                                                              133
 1   there's -- there's no so many factors that play into          1      Q. Carrier envelopes.
 2   turnout, that it's -- it's an art as much as it is a          2      A. No.
 3   science.                                                      3             THE STENOGRAPHER: I'm sorry, your
 4      Q. So I guess I'm just trying to understand                4   answer?
 5   your -- your answer. Is it that the rate was not as           5             THE WITNESS: No.
 6   high as you projected, or is it down compared to              6      A. And I'll elaborate. No, under the current
 7   previous elections?                                           7   law.
 8      A. I don't know that it's down compared to                 8   BY MS. HUNKER:
 9   previous elections. I can very easily pull up that            9      Q. Do you think that the rejection rate due to
10   information. I just don't recall. My general                 10   lack of signature will ever be zero?
11   impression was that it was down.                             11      A. No.
12      Q. Do you recall telling counsel you thought              12      Q. Do you think the rejection rate regarding
13   the rejection rate was too high?                             13   mismatched signature will ever be zero?
14      A. Yes.                                                   14      A. No.
15      Q. So I kind of want to understand what your              15      Q. And do you think that the rejection rate
16   baseline is. So in your mind, what should the                16   do -- voters not including required statement of
17   rejection be?                                                17   residence will ever be zero?
18      A. It should be zero.                                     18      A. No.
19      Q. Would you then consider a 1 percent                    19      Q. You talked with counsel about the
20   rejection rate to be too high?                               20   abbreviated insert, correct?
21      A. I think any rejection rate is too high.                21      A. Yes.
22      Q. Are you aware of any election that had a               22      Q. Did you include a type of abbreviated
23   zero percent rejection rate?                                 23   insert prior to SB1?
24      A. No.                                                    24             MS. PERALES: Objection; asked and
25      Q. Dallas County was able to reduce its                   25   answered.




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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




               STATE DEFENDANTS’ BRIEF IN RESPONSE TO
          OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX X
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     Anne Scott                                                           April 18, 2023
                                                                                       ·


·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3

·4· ·LA UNION DEL PUEBLO ENTERO,· ·)(
· · ·et al.· · · · · · · · · · · · )(
·5· · · · · · Plaintiffs· · · · · ·)(
· · · · · · · · · · · · · · · · · ·)(
·6· ·VS.· · · · · · · · · · · · · ·)(· ·CASE NO.
· · · · · · · · · · · · · · · · · ·)(· ·5:21-cv-844-XR
·7· · · · · · · · · · · · · · · · ·)(· ·(LEAD CASE)
· · ·GREGORY W. ABBOTT, et al.· · ·)(
·8· · · · · · Defendants· · · · · ·)(
· · · _______________________________________________________
·9
· · · OCA-GREATER HOUSTON, et al.· ·)(
10· · · · · · Plaintiffs· · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
11· · VS.· · · · · · · · · · · · · ·)(· 1:21-cv-780-XR
· · · · · · · · · · · · · · · · · · )(
12· · JANE NELSON, et al.· · · · · ·)(
· · · · · · · Defendants· · · · · · )(
13· · _______________________________________________________

14· · HOUSTON AREA URBAN LEAGUE,· · )(
· · · et al.· · · · · · · · · · · · )(
15· · · · · · Plaintiffs· · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
16· · VS.· · · · · · · · · · · · · ·)(· 5:21-cv-848-XR
· · · · · · · · · · · · · · · · · · )(
17· · GREGORY WAYNE ABBOTT, et al.· )(
· · · · · · · Defendants· · · · · · )(
18· · _______________________________________________________

19· · LULAC TEXAS, et al.· · · · · ·)(
· · · · · · · Plaintiffs· · · · · · )(
20· · · · · · · · · · · · · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
21· · VS.· · · · · · · · · · · · · ·)(· 1:21-cv-0786-XR
· · · · · · · · · · · · · · · · · · )(
22· · JANE NELSON, et al.· · · · · ·)(
· · · · · · · Defendants· · · · · · )(
23· · _______________________________________________________

24

25
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Anne Scott                                                                                             April 18, 2023
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·1· ·_______________________________________________________   ·1· · · COUNSEL FOR PLAINTIFF UNITED STATES OF AMERICA:
·2· ·MIFAMILIA VOTA, et al.· · · · )(                          ·2· · · · · ·DANIEL J. FREEMAN, via Zoom
· · · · · · ·Plaintiffs· · · · · · )(                          · · · · · · ·U.S. DEPARTMENT OF JUSTICE
·3· · · · · · · · · · · · · · · · ·)(· CASE NO.                ·3· · · · · ·950 Pennsylvania Avenue NW, 4CON 8.143
· · ·VS.· · · · · · · · · · · · · ·)(· 5:21-cv-0920-XR         · · · · · · ·Washington, DC· 20530
·4· · · · · · · · · · · · · · · · ·)(                          ·4
· · ·GREG ABBOTT, et al.· · · · · ·)(                          · · · · COUNSEL FOR PLAINTIFFS LA UNION DEL PUEBLO ENTERO,
·5· · · · · ·Defendants· · · · · · )(                          ·5· · · et al.:
                                                               ·6· · · · · ·PATRICK BERRY, via Zoom
· · ·_______________________________________________________
                                                               · · · · · · ·BRENNAN CENTER FOR JUSTICE
·6
                                                               ·7· · · · · ·120 Broadway, Suite 1750
· · ·UNITED STATES OF AMERICA· · · )(
                                                               · · · · · · ·New York, New York· 10271
·7· · · · · ·Plaintiff· · · · · · ·)(                          ·8
· · · · · · · · · · · · · · · · · ·)(· CASE NO.                · · · · ALSO PRESENT:
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16· ·produced as a witness at the instance of the State
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17· ·Defendants, taken in the above-styled and numbered
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18· ·cause on APRIL 18, 2023, between the hours of 9:44 a.m.
                                                               18
19· ·and 11:04 a.m., reported stenographically by DONNA        19
20· ·McCOWN, Certified Court Reporter No. 6625, in and for     20
21· ·the State of Texas, at 7030 Mile 2 3/4 East, Mercedes,    21
22· ·Texas, pursuant to the Federal Rules of Civil Procedure   22
23· ·and any provisions stated on the record or attached       23
24· ·therein.                                                  24
25                                                             25

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18· · · · Houston, Texas· 77004                                17
19· · · · CHRISTOPHER McGREAL, via Zoom                        18
· · · · · DISABILITY RIGHTS TEXAS
20· · · · 1420 West Mockingbird Lane, Suite 450                19
· · · · · Dallas, Texas· 75247                                 20
21
· · ·COUNSEL FOR PLAINTIFFS HOUSTON AREA URBAN LEAGUE,         21
22· ·et al.:                                                   22
23· · · · DESTINY LOPEZ, via Zoom
                                                               23
· · · · · REED SMITH, LLP
24· · · · 355 South Grand Avenue No. 2900                      24
· · · · · Los Angeles, California, 90071                       25
25




                                                                                                                             YVer1f
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Anne Scott                                                                                                 April 18, 2023
                                                                                                           Pages 14 to 17
                                                   Page 14                                                              Page 16
·1· · · ·A.· Yes, sir.                                         ·1· · · ·Q.· Approximately when did you do that?
·2· · · ·Q.· And did she also vote in person?                  ·2· · · ·A.· There again, I really don't remember the date.
·3· · · ·A.· Yes, sir.                                         ·3· ·I'm sorry.· I just --
·4· · · ·Q.· In connection with the 2022 general election,     ·4· · · ·Q.· Okay.· And sometime after you submitted your
·5· ·did you submit an application for a mail-in ballot?       ·5· ·mail-in ballot in connection with the 2022 general
·6· · · ·A.· Yes, sir.                                         ·6· ·election, did you receive some type of communication or
·7· · · ·Q.· And did your daughter Taylor also submit an       ·7· ·return of that ballot prior to the general election?
·8· ·application for a mail-in ballot?                         ·8· · · ·A.· I -- I received the ballot back before the
·9· · · ·A.· I submitted one for her.                          ·9· ·election, yes.
10· · · ·Q.· And did you provide on your application for a     10· · · ·Q.· Okay.· When you received your mail-in ballot
11· ·mail-in ballot an identification number of some kind?     11· ·back, do you know if you received it from the Hidalgo
12· · · ·A.· Yes, sir.                                         12· ·County Election Office or from the U.S. Postal Service
13· · · ·Q.· What type of identification number did you        13· ·or from whom?
14· ·submit with your application for a ballot by mail in      14· · · ·A.· It was the election office, because it was
15· ·the 2022 general election?                                15· ·stamped.
16· · · ·A.· I believe I submitted my passport number.         16· · · ·Q.· And what did the stamp say on it?
17· · · ·Q.· Did you submit only one number, or did you        17· · · ·A.· It just said "return" -- I don't even remember
18· ·submit multiple numbers?                                  18· ·what it said, but there was a stamp on it, and it said
19· · · ·A.· I think it was just the one number on the         19· ·return for more information or something.· I don't
20· ·passport.                                                 20· ·really recall, but it was stamped by the Hidalgo County
21· · · ·Q.· Was that a United States passport that was        21· ·Election Office.
22· ·still active --                                           22· · · ·Q.· I take it from that answer that you don't
23· · · ·A.· Yes.                                              23· ·recall what specific information the Hidalgo County
24· · · ·Q.· -- not expired?                                   24· ·Election Office indicated you needed to provide in
25· · · ·A.· Yes, sir.                                         25· ·order to -- or to have a mail-in ballot that they would

                                                   Page 15                                                            Page 17
·1· · · ·Q.· And approximately when did you submit that        ·1· ·accept?
·2· ·application for a mail-in ballot in connection with the   ·2· · · ·A.· That is correct.
·3· ·2022 general election?                                    ·3· · · ·Q.· Did you attempt to get any help from anyone to
·4· · · ·A.· I'm sorry.· I really don't remember.· It was      ·4· ·try to determine what you needed to do to provide
·5· ·during early -- it was before early voting, I believe.    ·5· ·information requested by the Hidalgo County Election
·6· ·And I'm sorry.· I don't really remember the date.         ·6· ·Office so your mail-in ballot would be accepted?
·7· · · ·Q.· After you submitted that application for a        ·7· · · ·A.· No, I did not contact anyone.
·8· ·mail-in ballot, did you receive a mail-in ballot?         ·8· · · ·Q.· Why did you not contact anyone to get some
·9· · · ·A.· I did, yes.                                       ·9· ·assistance in that matter?
10· · · ·Q.· Approximately, when did you receive that          10· · · ·A.· Well, I was going to have to transport Taylor
11· ·mail-in ballot for the 2022 general election?             11· ·over to -- because she did not get a ballot, so I
12· · · ·A.· I'm sorry.· I don't remember.                     12· ·figured, well, if I have to transport Taylor over
13· · · ·Q.· I believe you said that you filled in your        13· ·there, I might as well take my ballot in hand and do it
14· ·mail-in ballot once you had received it; is that          14· ·there in Mercedes at the polls.
15· ·correct?                                                  15· · · ·Q.· At any time prior to completing the mail-in
16· · · ·A.· That is correct.                                  16· ·ballot for the 2022 general election, did you do
17· · · ·Q.· And did you submit an identification number or    17· ·anything to get information about what types of
18· ·numbers of some kind on that mail-in ballot?              18· ·identification numbers were required or acceptable?
19· · · ·A.· Yes, sir.                                         19· · · ·A.· No.· I figured a U.S. passport would be fine.
20· · · ·Q.· What identification number or numbers did you     20· ·I didn't use my driver's license because my name is
21· ·submit?                                                   21· ·misspelled, and so it's not my correct name.· So
22· · · ·A.· My United States passport number.                 22· ·that -- I use that as a form of identification wherever
23· · · ·Q.· And did you mail in that mail-in ballot to the    23· ·I go, and it seems to work.
24· ·proper address in Hidalgo County?                         24· · · ·Q.· In 2022, did you have a valid Texas driver's
25· · · ·A.· Yes, sir.                                         25· ·license?




                                                                                                                                  YVer1f
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Anne Scott                                                                                                        April 18, 2023
                                                                                                                  Pages 18 to 21
                                                            Page 18                                                            Page 20
·1· · · ·A.· Yes, I do.                                               ·1· · · ·Q.· In 2022, did you or Taylor take any steps to
·2· · · ·Q.· In 2022, did you have a Social Security number?          ·2· ·attempt to renew her Texas state ID card?
·3· · · ·A.· Yes, sir.                                                ·3· · · ·A.· No, sir.
·4· · · ·Q.· Did you consider submitting the last four                ·4· · · ·Q.· What was the reason for not taking any steps
·5· ·digits of your Social Security number on the                     ·5· ·like that in 2022?
·6· ·application for mail-in ballot or on the mail-in ballot          ·6· · · ·A.· I guess just being lazy.
·7· ·as an identification number?                                     ·7· · · ·Q.· And have you or Taylor taken any steps in 2023
·8· · · ·A.· I believe I did also, but I can't remember               ·8· ·so far to attempt to renew her Texas state ID card?
·9· ·if -- if I did or not, but I -- if it -- if they asked           ·9· · · ·A.· No, we have not.
10· ·for it, I'm sure I did.                                          10· · · ·Q.· Is there any reason for that?
11· · · ·Q.· Did you look at anything either online or any            11· · · ·A.· Taylor still does not go out in the public,
12· ·materials in paper form to determine whether or not a            12· ·normally.· She does go to day care.· Everyone wears a
13· ·passport number was an acceptable form of                        13· ·mask.· Most people at day care are medically fragile.
14· ·identification for voting in Texas?                              14· ·They're tested once a week for COVID.· So it's kind of
15· · · ·A.· I assume a passport would -- a valid passport            15· ·a closed situation.
16· ·would be just about the best identification you could            16· · · · · · · · So Taylor goes to day care and comes home,
17· ·have.                                                            17· ·and that's pretty much it for her.· Like a lot of
18· · · ·Q.· My question was whether you did anything to --           18· ·medically fragile people, we have to be very careful.
19· · · ·A.· No.                                                      19· ·She is up-to-date on her COVID shots and everything,
20· · · ·Q.· -- determine that rather than just assume.               20· ·but we still worry about her because of her medical
21· · · ·A.· No.                                                      21· ·condition.
22· · · ·Q.· When -- strike that.                                     22· · · ·Q.· Does your daughter Taylor have a Social
23· · · · · · · · When did your daughter first register to            23· ·Security number?
24· ·vote?                                                            24· · · ·A.· Yes, she does.
25· · · ·A.· Before the 2020 election, but I can't remember           25· · · ·Q.· How long has she had a Social Security number,

                                                        Page 19                                                                 Page 21
·1· ·the exact date.                                                  ·1· ·roughly?
·2· · · ·Q.· In 2022, did your daughter have a Texas                  ·2· · · ·A.· Probably since she was born.
·3· ·driver's license?                                                ·3· · · ·Q.· By the way, I forgot to say, but I want to say
·4· · · ·A.· She had an expired Texas ID.                             ·4· ·any time you want to take a break, feel free to call a
·5· · · ·Q.· Okay.· So she did not have a driver's license,           ·5· ·break.· If you have to take care of the dog or anything
·6· ·but she had a state ID card?                                     ·6· ·else, please feel free.
·7· · · ·A.· Yes, sir.                                                ·7· · · ·A.· I'm fine.
·8· · · ·Q.· And how long had she had a Texas state ID card?          ·8· · · ·Q.· Okay.· So what caused Taylor to have an
·9· · · ·A.· I'm going to say since she was 20 years old.             ·9· ·interest for the first time in voting in 2022, if
10· ·It went through two cycles of renewal, because I did it          10· ·that's the first time she expressed that interest?
11· ·online once, so...                                               11· · · · · · · · MS. SNEAD:· Objection, form.
12· · · ·Q.· And when did the state ID card expire in the             12· · · · · · · · THE WITNESS:· I can still answer the
13· ·year or two prior to the general election in 2022?               13· ·question?
14· · · ·A.· It expired Taylor's birthday 10-25-2020.                 14· · · · · · · · MS. SNEAD:· Yes.
15· · · ·Q.· Did you or Taylor take any steps to try to               15· · · ·A.· I think -- I think just -- just listening to
16· ·renew her state ID card in 2019, 2020, or 2021?                  16· ·the news, and she just decided, "Hey, it's my right. I
17· · · ·A.· No.                                                      17· ·would like to vote, Mom," you know.· There was a lot of
18· · · ·Q.· Is there a reason why neither of you took any            18· ·people trying to get out to vote.
19· ·steps to renew her Texas state ID card during those              19· · · ·Q.· I may have made an error in my question.· Did
20· ·years?                                                           20· ·she first vote in 2020?
21· · · ·A.· Taylor is medically fragile, and this was                21· · · ·A.· Yes.
22· ·during COVID, and Taylor didn't even leave the house             22· · · ·Q.· Okay.
23· ·for quite -- quite a while.· So I already had renewed            23· · · ·A.· That is correct.
24· ·it over -- online previously, so I couldn't do it                24· · · ·Q.· I asked you about 2022 --
25· ·again.· So that's the story on that.                             25· · · ·A.· Oh, okay.· Okay.




                                                                                                                                          YVer1f
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




               STATE DEFENDANTS’ BRIEF IN RESPONSE TO
          OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX Y
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     Taylor Scott                                                         April 18, 2023
                                                                                       ·


·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3

·4· ·LA UNION DEL PUEBLO ENTERO,· ·)(
· · ·et al.· · · · · · · · · · · · )(
·5· · · · · · Plaintiffs· · · · · ·)(
· · · · · · · · · · · · · · · · · ·)(
·6· ·VS.· · · · · · · · · · · · · ·)(· ·CASE NO.
· · · · · · · · · · · · · · · · · ·)(· ·5:21-cv-844-XR
·7· · · · · · · · · · · · · · · · ·)(· ·(LEAD CASE)
· · ·GREGORY W. ABBOTT, et al.· · ·)(
·8· · · · · · Defendants· · · · · ·)(
· · · _______________________________________________________
·9
· · · OCA-GREATER HOUSTON, et al.· ·)(
10· · · · · · Plaintiffs· · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
11· · VS.· · · · · · · · · · · · · ·)(· 1:21-cv-780-XR
· · · · · · · · · · · · · · · · · · )(
12· · JANE NELSON, et al.· · · · · ·)(
· · · · · · · Defendants· · · · · · )(
13· · _______________________________________________________

14· · HOUSTON AREA URBAN LEAGUE,· · )(
· · · et al.· · · · · · · · · · · · )(
15· · · · · · Plaintiffs· · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
16· · VS.· · · · · · · · · · · · · ·)(· 5:21-cv-848-XR
· · · · · · · · · · · · · · · · · · )(
17· · GREGORY WAYNE ABBOTT, et al.· )(
· · · · · · · Defendants· · · · · · )(
18· · _______________________________________________________

19· · LULAC TEXAS, et al.· · · · · ·)(
· · · · · · · Plaintiffs· · · · · · )(
20· · · · · · · · · · · · · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
21· · VS.· · · · · · · · · · · · · ·)(· 1:21-cv-0786-XR
· · · · · · · · · · · · · · · · · · )(
22· · JANE NELSON, et al.· · · · · ·)(
· · · · · · · Defendants· · · · · · )(
23· · _______________________________________________________

24

25
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                                                     Page 2                                                           Page 4
·1· ·_______________________________________________________   ·1· · · COUNSEL FOR PLAINTIFF UNITED STATES OF AMERICA:
·2· ·MIFAMILIA VOTA, et al.· · · · )(                          ·2· · · · · ·DANIEL J. FREEMAN, via Zoom
· · · · · · ·Plaintiffs· · · · · · )(                          · · · · · · ·U.S. DEPARTMENT OF JUSTICE
                                                               ·3· · · · · ·950 Pennsylvania Avenue NW, 4CON 8.143
·3· · · · · · · · · · · · · · · · ·)(· CASE NO.
                                                               · · · · · · ·Washington, DC· 20530
· · ·VS.· · · · · · · · · · · · · ·)(· 5:21-cv-0920-XR         ·4
·4· · · · · · · · · · · · · · · · ·)(                          · · · · COUNSEL FOR PLAINTIFFS LA UNION DEL PUEBLO ENTERO,
· · ·GREG ABBOTT, et al.· · · · · ·)(                          ·5· · · et al.:
·5· · · · · ·Defendants· · · · · · )(                          ·6· · · · · ·PATRICK BERRY, via Zoom
· · ·_______________________________________________________   · · · · · · ·BRENNAN CENTER FOR JUSTICE
                                                               ·7· · · · · ·120 Broadway, Suite 1750
·6
                                                               · · · · · · ·New York, New York· 10271
· · ·UNITED STATES OF AMERICA· · · )(                          ·8
·7· · · · · ·Plaintiff· · · · · · ·)(                          · · · · ALSO PRESENT:
· · · · · · · · · · · · · · · · · ·)(· CASE NO.                ·9· · · · · ·Rene Ortiz, Videographer
·8· ·VS.· · · · · · · · · · · · · ·)(· 5a;21-cv-1085-XR        · · · · · · ·Anne Scott
· · · · · · · · · · · · · · · · · ·)(                          10· · · · · · · · · · · · · · INDEX
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10· ·_______________________________________________________   · · ·TAYLOR SCOTT
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13· ·_______________________________________________________   · · ·Reporter's Certificate ..........................· 23
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15· · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF TAYLOR SCOTT,   · · ·Attached to the end of the transcript:· Stipulations
16· ·produced as a witness at the instance of the State        17
17· ·Defendants, taken in the above-styled and numbered        · · · · · · · · · · · · · · EXHIBITS
                                                               18
18· ·cause on APRIL 18, 2023, between the hours of             · · ·NUMBER· DESCRIPTION· · · · · · · · · · · · · · · ·PAGE
19· ·11:33 a.m. and 11:57 a.m., reported stenographically by   19
20· ·DONNA McCOWN, Certified Court Reporter No. 6625, in and   · · · · (No Exhibits Marked)
21· ·for the State of Texas, at 7030 Mile 2 3/4 East,          20
22· ·Mercedes, Texas, pursuant to the Federal Rules of Civil   21
23· ·Procedure and any provisions stated on the record or      22
                                                               23
24· ·attached therein.                                         24
25                                                             25

                                                     Page 3                                                             Page 5
·1· · · · · · · · · · · APPEARANCES                            ·1· · · · · · · · THE VIDEOGRAPHER:· Today is April 18,
·2· ·COUNSEL FOR STATE DEFENDANTS:
·3· · · · DAVID BRYANT                                         ·2· ·2023.· It is 11:33 a.m.· We're on the record.
· · · · · OFFICE OF THE TEXAS ATTORNEY GENERAL
·4· · · · P.O. Box 12548                                       ·3· · · · · · · · · · · · TAYLOR SCOTT,
· · · · · Austin, Texas, 78711-2548                            ·4· ·having been duly sworn, testified as follows:
·5
· · ·COUNSEL FOR DEFENDANT HIDALGO COUNTY ELECTIONS            ·5· · · · · · · · · · · · ·EXAMINATION
·6· ·ADMINISTRATOR:
·7· · · · LEIGH ANN TOGNETTI                                   ·6· ·BY MR. BRYANT:
· · · · · HIDALGO COUNTY DISTRICT ATTORNEY'S OFFICE            ·7· · · ·Q.· Ms. Scott, my name is David Bryant.· I am with
·8· · · · 100 East Cano Street
· · · · · Edinburg, Texas· 78539                               ·8· ·the Texas Attorney General's Office, and appreciate you
·9
· · ·COUNSEL FOR INTERVENOR DEFENDANTS:                        ·9· ·being here for the deposition today.
10                                                             10· · · · · · · · I want to allow the other attorneys to
· · · · · STEPHEN KENNY, via Zoom
11· · · · JONES DAY                                            11· ·state their appearances so everyone will know who's
· · · · · 51 Louisiana Avenue, NW
12· · · · Washington, DC· 20001                                12· ·participating in the deposition.
13· ·COUNSEL FOR PLAINTIFFS OCA-GREATER HOUSTON, et al.:       13· · · · · · · · MS. SNEAD:· This is Lisa Snead from
14· · · · LISA SNEAD
· · · · · DISABILITY RIGHTS TEXAS                              14· ·Disability Rights Texas representing the OCA Plaintiffs
15· · · · 222 West Braker Lane
· · · · · Austin, Texas, 78758-1024                            15· ·and defending Ms. Scott's deposition.
16                                                             16· · · · · · · · MS. TOGNETTI:· Leigh Ann Tognetti from the
· · · · · LUCIA ROMANO, via Zoom
17· · · · DISABILITY RIGHTS TEXAS                              17· ·Hidalgo County District Attorney's Office representing
· · · · · 1500 McGowen, Suite 100
18· · · · Houston, Texas· 77004                                18· ·the Hidalgo County Elections Administrator.
19· · · · CHRISTOPHER McGREAL, via Zoom                        19· · · · · · · · MR. BRYANT:· Are there other participants
· · · · · DISABILITY RIGHTS TEXAS
20· · · · 1420 West Mockingbird Lane, Suite 450                20· ·on Zoom who want to state an appearance?
· · · · · Dallas, Texas· 75247
21                                                             21· · · · · · · · Let the record reflect that there are
· · ·COUNSEL FOR PLAINTIFFS HOUSTON AREA URBAN LEAGUE,         22· ·none.· And we'll begin the deposition at this time.
22· ·et al.:
23· · · · DESTINY LOPEZ, via Zoom                              23· · · ·Q.· (By Mr. Bryant) Ms. Scott, I'm going to be
· · · · · REED SMITH, LLP
24· · · · 355 South Grand Avenue No. 2900                      24· ·asking you a series of questions.· You're under oath
· · · · · Los Angeles, California, 90071                       25· ·just as you would be if you were testifying in court or
25




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Taylor Scott                                                                                                      April 18, 2023
                                                                                                                    Pages 6 to 9
                                                            Page 6                                                               Page 8
·1· ·in front of a judge.                                            ·1· · · ·A.· Yes.· I had to go over to the driver's license
·2· · · · · · · · And so you -- you have an obligation to be         ·2· ·place.
·3· ·as truthful as you can.· Do you understand that                 ·3· · · ·Q.· About how old were you when you did that?
·4· ·obligation?                                                     ·4· · · ·A.· I can't remember.
·5· · · ·A.· Yes.                                                    ·5· · · ·Q.· And do you still have a Texas state ID card?
·6· · · ·Q.· Have you ever testified in a deposition or              ·6· · · ·A.· Yes.
·7· ·otherwise --                                                    ·7· · · ·Q.· Is it now expired?
·8· · · ·A.· No.                                                     ·8· · · ·A.· Yes, sir.
·9· · · ·Q.· -- before today?                                        ·9· · · ·Q.· Approximately, when did your Texas state ID
10· · · ·A.· No, sir.                                                10· ·card expire?
11· · · ·Q.· Okay.· One of the things that we have to                11· · · ·A.· I can't remember, sir.
12· ·remember in these depositions is that all that really           12· · · ·Q.· Have you ever voted in an election?
13· ·matters is what the court reporter writes down, so if           13· · · ·A.· Yes.
14· ·you and I were just having a conversation, a lot of             14· · · ·Q.· How many times have you voted in an election?
15· ·times you would know what I'm asking before I finish my         15· · · ·A.· Once by mail.
16· ·question and you might answer it, but if you can wait           16· · · ·Q.· And do you know what year it was when you voted
17· ·until my question is finished before you answer it --           17· ·by mail in an election?
18· · · ·A.· Okay.                                                   18· · · ·A.· No, sir.
19· · · ·Q.· -- that will help, and also, I will try not to          19· · · ·Q.· What do you recall about the instance in which
20· ·interrupt you when you are giving an answer --                  20· ·you voted by mail in an election?
21· · · ·A.· Okay.                                                   21· · · ·A.· We got our ballots.· We signed them and sent
22· · · ·Q.· -- so your answer will get fully on the page.           22· ·them back.
23· · · ·A.· Okay.                                                   23· · · ·Q.· And do you know what year that was?
24· · · ·Q.· Any time that you need to take a break --               24· · · ·A.· I don't remember.
25· · · ·A.· Okay.                                                   25· · · ·Q.· Have you ever voted in person in a Texas

                                                        Page 7                                                                 Page 9
·1· · · ·Q.· -- please feel free to just say, "I need a              ·1· ·election?
·2· ·break."                                                         ·2· · · ·A.· Yes.
·3· · · ·A.· Yeah.                                                   ·3· · · ·Q.· How many times have you voted in person?
·4· · · ·Q.· And you'll get one.                                     ·4· · · ·A.· Once.
·5· · · ·A.· Okay.                                                   ·5· · · ·Q.· What year was it when you voted in person in an
·6· · · ·Q.· And also, if you have any difficulty                    ·6· ·election?
·7· ·understanding anything that is going on, I want you to          ·7· · · ·A.· It was this year.
·8· ·feel free to --                                                 ·8· · · ·Q.· Okay.· This year is 2023.· Was it the last
·9· · · ·A.· Okay.                                                   ·9· ·election in November '22?
10· · · ·Q.· -- consult your attorney, and your mother is            10· · · ·A.· Yes.· No.· It was 2023.
11· ·present here, and I'm fine with that on behalf of               11· · · ·Q.· Okay.· What do you recall about voting in the
12· ·the --                                                          12· ·election in person?
13· · · ·A.· Okay.                                                   13· · · ·A.· I had to go to a building and vote.· I took my
14· · · ·Q.· -- Attorney General and the State Defendants in         14· ·passport to vote.· I didn't have my ID.
15· ·this case.                                                      15· · · ·Q.· Where did you vote?
16· · · ·A.· Okay.                                                   16· · · ·A.· In a building in Mercedes.
17· · · ·Q.· Okay.· What was your date of birth?                     17· · · ·Q.· Was that a building you had been to before, or
18· · · ·A.· 10-30-87.                                               18· ·was it the first time you had been there?
19· · · ·Q.· And are we currently in your home in Mercedes,          19· · · ·A.· It was the first time I've been there.
20· ·Texas?                                                          20· · · ·Q.· And who went with you to vote on that occasion?
21· · · ·A.· Yes, sir.                                               21· · · ·A.· My mom.
22· · · ·Q.· Have you lived here all your life?                      22· · · ·Q.· Did you have any trouble casting your ballot
23· · · ·A.· Yes, sir.                                               23· ·when you went to the polling place in Mercedes in that
24· · · ·Q.· Do you recall when you first got a Texas state          24· ·election?
25· ·ID?                                                             25· · · ·A.· No.· It was all done electronically.




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Taylor Scott                                                                                               April 18, 2023
                                                                                                           Pages 10 to 13
                                                   Page 10                                                              Page 12
·1· · · ·Q.· Do you recall any occasion in which you           ·1· · · ·A.· Not very well.
·2· ·attempted to vote by mail but couldn't do so?             ·2· · · ·Q.· Is it -- do you think that you read?
·3· · · ·A.· Yes.                                              ·3· · · ·A.· Excuse me?
·4· · · ·Q.· When did that occur?                              ·4· · · ·Q.· Do you read fairly well?
·5· · · ·A.· In this year's election.                          ·5· · · ·A.· Barely.· I can read some words, but not many.
·6· · · ·Q.· Was that in 2022 or 2023?                         ·6· · · ·Q.· Did you -- strike that.
·7· · · ·A.· 2023.                                             ·7· · · · · · · · Do you go online and read things?
·8· · · ·Q.· And what do you recall about the attempt that     ·8· · · ·A.· No.
·9· ·you made to vote by mail on that election?                ·9· · · ·Q.· Did you read any of the -- any material related
10· · · ·A.· I didn't get a ballot.                            10· ·to the voting process when you applied to vote by mail?
11· · · ·Q.· Do you recall whether or not you sent in an       11· · · ·A.· No.
12· ·application for a mail-in ballot on that occasion?        12· · · ·Q.· Are you a registered voter in Texas?
13· · · ·A.· Yes.                                              13· · · ·A.· Yes, sir.
14· · · ·Q.· Did you fill out that application yourself?       14· · · ·Q.· How long have you been a registered voter in
15· · · ·A.· My mom did.                                       15· ·Texas?
16· · · ·Q.· Okay.· Did you sign that application?             16· · · ·A.· I just started last year.
17· · · ·A.· She -- she writes for me.· I can't -- I can't     17· · · ·Q.· Which year was that?
18· ·write.                                                    18· · · ·A.· Last year.
19· · · ·Q.· And did you read that application before it was   19· · · ·Q.· Was that 2022 or 2023?
20· ·sent in?                                                  20· · · ·A.· 2023.
21· · · ·A.· She read it to me.                                21· · · ·Q.· Did your mother assist you in getting
22· · · ·Q.· And do you recall that the application required   22· ·registered as a voter?
23· ·you to provide some type of identification number?        23· · · ·A.· Yes.
24· · · ·A.· Yes, sir.                                         24· · · ·Q.· Have you ever sought any assistance from anyone
25· · · ·Q.· And what type of identification number or         25· ·other than your mother in connection with the voting or

                                                   Page 11                                                            Page 13
·1· ·numbers, if any, did -- did your mother provide on your   ·1· ·registering to vote?
·2· ·application for a mail-in ballot?                         ·2· · · ·A.· No.
·3· · · ·A.· My passport number.                               ·3· · · ·Q.· Is it fair to say that you've never had any
·4· · · ·Q.· Did she provide any other numbers?                ·4· ·contact with anybody at the State of Texas about
·5· · · ·A.· No.                                               ·5· ·voting?
·6· · · ·Q.· At the time that that attempt was made to get a   ·6· · · ·A.· No, sir.
·7· ·mail-in ballot, did you have a Social Security number?    ·7· · · ·Q.· Is it correct that you have not had any
·8· · · ·A.· Yes.                                              ·8· ·contact, other than when you went in person, with
·9· · · ·Q.· Did you know at that time that you could          ·9· ·anybody at Hidalgo County about voting?
10· ·provide the last four digits of your Social Security      10· · · ·A.· No, sir.
11· ·number on that application?                               11· · · · · · · · MS. SNEAD:· I'm going to object to the
12· · · ·A.· Yes, sir.                                         12· ·form, because I'm not sure she understands the
13· · · ·Q.· Is there a reason why you or your mom did not     13· ·question.
14· ·provide the last four digits of your Social Security      14· · · · · · · · MR. BRYANT:· Okay.
15· ·number on that application?                               15· · · · · · · · MS. SNEAD:· If you can phrase it more
16· · · ·A.· I don't know.                                     16· ·directly.
17· · · ·Q.· Did you provide the number on your state ID       17· · · · · · · · MR. BRYANT:· I'll try to do that.
18· ·card, even though it was expired?                         18· · · ·Q.· Have you ever talked in person or on the phone
19· · · ·A.· No, sir.                                          19· ·with anyone from the State of Texas about voting?
20· · · ·Q.· Why did you not do that?                          20· · · ·A.· My hand -- I cannot use the phone.· My hand --
21· · · ·A.· Because it was expired.· I used my passport.      21· ·my hands do not work, so...
22· · · ·Q.· When I spoke with your mother earlier, she told   22· · · ·Q.· So I assume from that that you've never talked
23· ·me that you had gone to high school; is that right?       23· ·with anybody on the phone --
24· · · ·A.· Yes.                                              24· · · ·A.· No, no.
25· · · ·Q.· So do you read well?                              25· · · ·Q.· Have you ever talked with anybody from the




                                                                                                                                  YVer1f
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




               STATE DEFENDANTS’ BRIEF IN RESPONSE TO
          OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX Z
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                           In The Matter Of

                  La Union Del Pueblo Entero, et al.,

                                 Plaintiffs

                                     v

                         State Of Texas, et al.,

                               Defendants


                                  CASE

                               5:21-cv-844

                                   Date

                                4-27-2022

                                Witness


                       Jonathan Sherman White



                         Certified Copy
                           Transcript


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 1          IN THE UNITED STATES DISTRICT COURT                                1         A P P E A R A N C E S (CONTINUED)
             FOR THE WESTERN DISTRICT OF TEXAS
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                    § 5:21-cv-844 (XR)                                                 (646) 292-8310 Fax: (212) 463-7308
 5 VS.                § (Consolidated Cases)                                   5       freilk@brennan.law.nyu.edu
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14 produced as a witness at the instance of the Plaintiffs                    14
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15 and Plaintiff-Intervenors, and duly sworn, was taken in                    15 GUERRERO AND DISTRICT ATTORNEY JOSÉ P. GARZA:
                                                                                       ANTHONY "TONY" NELSON (via videoconference)
16 the above-styled and numbered cause on the 27th day of                     16       Civil Litigation Division of the Travis County
                                                                                       Attorney's Office
17 April 2022, from 9:11 a.m. to 5:31 p.m., before Caroline                   17       P.O. Box 1748
                                                                                       Austin, TX 78767-1748
18 Chapman, CSR in and for the State of Texas, reported by                    18       (512) 854-9513 Fax: (512) 854-4808
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19 Computerized Stenotype Machine, Computer-Assisted                          19
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20 Transcription, held at the William P. Clements Jr. State                   20 HIDALGO COUNTY:
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           - and-
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 1 identifying information, or an identifier such as a DL                1 identification document. They could just ask for it,
 2 or the last four of the social. That could be an                      2 and if the voter was inclined to provide it or show it
 3 obstacle to a vote harvesting crew that wishes to bypass              3 to them because they had that level of trust somehow
 4 the voter.                                                            4 with a stranger or -- or a harvester maybe that they've
 5           And then, as I already stated, it could                     5 known from previous election cycles, that's possible.
 6 also be an obstacle to gaining the voter's compliance,                6    Q.     Uh-huh.
 7 because here's a stranger asking for my DL number so                  7              Do you have any personal knowledge of the
 8 that they can complete these documents on my behalf or                8 operative underlying facts of a case that was positively
 9 submit this, you know, carrier envelope on my behalf, so              9 resolved, so the spreadsheet we've been working on,
10 it -- by putting the control of the interaction more in              10 where the defendant who engaged in voter -- in a vote
11 the voter's hands because those are -- those are numbers             11 harvesting crime filled out the voter's ballot or
12 that the voter has access to that the harvester is less              12 absentee ballot by mail request in the voter's presence?
13 likely to have access to, I think it promotes security               13    A.     Sure. Although I would say, because this --
14 in that fashion.                                                     14 this isn't the most up-to-date document. Some of the
15    Q.   So if I, moving forward, refer to the activity               15 most recent cases are the ones that are immediately
16 you described of collecting as many absentee ballots and             16 popping into my mind and they're not on this document
17 collecting and submitting ballots by mail as illegal                 17 yet, but they have been resolved.
18 vote harvesting, will you understand what I'm referring              18    Q.     They have been resolved?
19 to?                                                                  19    A.     And there may be ones on here as well that I
20    A.   Sure. And if for some reason that definition                 20 would have to take a look at, but most of these cases
21 needs clarifying, then I'll bring it up at that time.                21 focus on the -- on the -- kind of the harvesting side of
22    Q.   You mentioned that SB1's mail ballot                         22 the process rather than the seeding or the application
23 identification requirements would be more effective in               23 side of the process, from what I looked through.
24 preventing some vote harvesting more so than others.                 24 Actually, you know, I was flagging the ones that were --
25 Are there instances you can think of where SB1's mail                25 that were unlawful assistance interactions, and so we
                                                              Page 86                                                          Page 88
 1 ballot identification requirements would not be                       1 probably do have some application fraud situations here.
 2 effective in deterring vote harvesting?                               2 But a majority -- I would say a majority of the
 3    A.   The primary scenario I can think of is where a                3 application violation cases do involve completing an
 4 vote harvesting crew already has enough information                   4 application in the presence of the voter.
 5 about the voters that they possess those identifying                  5    Q.     The majority involve completing an application
 6 numbers that have to be provided.                                     6 in the presence of the voter?
 7    Q.   Do you believe that SB1's mail ballot                         7    A.   Most of it happens in the presence of the
 8 identification requirements would be effective in                     8 voter. And I think the reason for that is because
 9 preventing vote harvesting if a defendant filled out                  9 eventually they have to go back to the voter for the
10 either the voter's application or mail ballot in the                 10 ballot, and so it's helpful to have that prior
11 presence of that voter?                                              11 interaction with the voter. It's helpful to get -- it's
12            MR. HUDSON: Objection, form, foundation.                  12 easy to get an actual signature from the voter for an
13 Objection, incomplete hypothetical.                                  13 application, because I'm just helping you get a mail
14    A.   If I understand the question, I think that                   14 ballot.
15 the -- the piece that I mentioned earlier, where the                 15    Q.     Right.
16 voter could be put off by a harvester requesting that                16    A.   Now, when you go to the mail ballot, that's
17 information from the voter, that could reduce the                    17 where the skill comes in.
18 likelihood of a successful vote harvesting transaction.              18    Q.     So in most of these vote harvesting schemes,
19 I think that would be my answer.                                     19 the harvesters are trying to build some relationship
20    Q.   And can you think of situations where a                      20 with the people they're targeting?
21 perpetrator might be able to obtain an ID from the                   21    A.   I would say they're trying to -- trying to
22 person they're seeking to harvest a ballot from?                     22 establish some level of trust or confidence with that --
23            MR. HUDSON: Objection, incomplete                         23 with that voter. If they're doing it well, they are.
24 hypothetical. Objection, foundation.                                 24    Q.     And in those instances, is it possible that
25    A.   An ID number or an actual -- actual                          25 they could ask the voter for their identification number

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 1 or have the voter fill out their own identification                  1    A.   This specific version, I'm not 100 percent
 2 number?                                                              2 sure, but -- I couldn't say for sure.
 3    A.   That's right. Absolutely.                                    3    Q.   What are instances where you presented some
 4            MS. PAIKOWSKY: If it's okay, can I take a                 4 version of this slide show?
 5 five-minute break?                                                   5    A.   The one I recall is -- would be the Secretary
 6    A.   Sure.                                                        6 of State's annual elections conference for elections
 7            MR. HUDSON: No objection.                                 7 administrators.
 8            (Lunch recess.)                                           8    Q.   And in that conference, who are you presenting
 9    Q.   (By Ms. Paikowsky) Mr. White, I'm going to go                9 this slide show to?
10 back to asking questions about SB1's mail ballot                    10    A.   Elections officials.
11 identification provisions. Without SB1's mail ballot                11    Q.   What is the purpose of giving this presentation
12 identification provisions, would your office have other             12 to election officials?
13 means of detecting vote harvesting?                                 13    A.   To inform them about election integrity efforts
14            MR. HUDSON: Object to the extent that                    14 and enforcement and to give them some information on
15 that would encroach on investigator privilege, and                  15 what they can look for in terms of detecting election
16 remind you of the stipulation concerning the running                16 fraud and how to report it.
17 objection. Just instruct the witness, to the extent                 17    Q.   If you wouldn't mind turning to Bates
18 that that would encroach on methods of investigation or             18 No. 054641.
19 practices, I'll instruct you not to answer.                         19    A.   Okay.
20    A.   Yeah. Without going into our mental                         20    Q.   Can you describe this slide?
21 impressions and our investigative practices, I guess I              21    A.   So this slide is intended to show some examples
22 could say we have prosecuted vote harvesting cases in               22 or representations of examples of mail ballot
23 the past.                                                           23 application activity that might be associated with --
24    Q.   And this, again, is not seeking specific                    24 with fraud or vote harvesting operations.
25 information about any investigation, but do you have --             25    Q.   Does this slide show tools that your office
                                                             Page 90                                                                Page 92
 1 does your office have methods by which you would detect              1 uses to detect vote harvesting and impersonations?
 2 potential illegal vote harvesting?                                   2    A.   The intent was to show elections administrators
 3           MR. HUDSON: Same objections.                               3 items that they might detect, and if looking -- if
 4    A.   We have --                                                   4 looked into further might find evidence of fraud that
 5           MR. HUDSON: Same instruction.                              5 they would report to our office.
 6    A.   We have other methods.                                       6    Q.   So is it fair to say that the examples you see
 7    Q.   All right. I'm going to show you a document                  7 here might give your office or others cause to
 8 that we can mark Exhibit 5.                                          8 investigate potential absentee ballot by mail fraud?
 9           (Exhibit 5 marked.)                                        9    A.   They might if we received a complaint with this
10           MS. PERALES: What are you marking? You                    10 type of information inside of it.
11 tell me. This is 5?                                                 11    Q.   Have there been instances -- again, not going
12           MS. PAIKOWSKY: This is 5.                                 12 into privileged information about any specific
13    Q.   (By Ms. Paikowsky) Do you recognize this                    13 investigation -- have there been instances in the past
14 document? Sorry, and I should say this is marked                    14 where you office has received a complaint that includes
15 State -- Bates No. State 05462.                                     15 an example that you -- similar to those that you've
16    A.   Yes, I believe I do.                                        16 provided here to detect a vote harvesting?
17    Q.   And what is this document?                                  17    A.   Yes.
18    A.   It is a PowerPoint file including some                      18    Q.   To your knowledge, will your office continue to
19 information about election integrity at the Attorney                19 rely on this tool to detect vote harvesting?
20 General's Office.                                                   20    A.   We'll continue to rely on complaints that have
21    Q.   Who created this PowerPoint?                                21 credible information about election fraud.
22    A.   I guess a collaboration involving myself and                22    Q.   And the kinds of evidence that you might
23 some other members of our team, I'm not sure exactly                23 consider credible evidence warranting an investigation
24 who.                                                                24 would be -- would include what's provided on this slide
25    Q.   What has the slide show been used for?                      25 show?

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 1 or some other polling place, and without respect to                     1 voting for other people, basically?
 2 whether the food is being offered as an inducement to                   2    A.    Sure. Well, the one that comes to mind
 3 vote, but just having a barbecue set up, chicken plates                 3 immediately is the one associated with the victim's
 4 on the lawn of the county courthouse, outside the                       4 assistance coordinator of Omar Escobar, whose vote
 5 electioneering zone does not violate Texas law, right?                  5 harvesting operation caught up a deceased voter who had
 6            MR. HUDSON: Objection, form, incomplete                      6 been -- who had passed away nine years earlier, and
 7 hypothetical. Objection, asked and answered.                            7 applied for a mail ballot for that voter, and that mail
 8 Objection, foundation. Go ahead.                                        8 ballot got voted. The issue in the case was actually
 9    A.   I -- yeah, I mean, I might miss something, but,                 9 pending that offense to the specific person, and we
10 you know, absent -- absent some facts that actually                    10 ultimately did not obtain that conviction against
11 indicate an offense under the Election Code or some                    11 Ms. Garza in that case.
12 other code, no, I mean people can gather and have food.                12    Q.    Did you charge her? Did you go to court?
13    Q.   And you mentioned that the chicken plate is a                  13    A.    We did.
14 phenomenon of South Texas. Is that what you've heard?                  14    Q.    Was she acquitted?
15    A.   That's what I've heard.                                        15    A.    No.
16    Q.   Are you aware that campaigns set up barbecues                  16    Q.    The charges were dropped?
17 and tents and lawn chairs and hand out food to people in               17    A.    The charges were dropped.
18 other parts of Texas besides South Texas?                              18    Q.    Okay. Do you have any sense of the relative
19    A.   That wouldn't surprise me to hear that. I just                 19 proportion of fraud that occurs by family members voting
20 haven't heard a lot of those stories.                                  20 for other family members versus one of these vote
21    Q.   What percent of the cases that you have                        21 harvesting operations that you've identified in your
22 prosecuted of voter assistance fraud have involved Anglo               22 chart?
23 defendants versus non Anglo defendants?                                23    A.    I have a very general sense of it based on just
24    A.   No idea.                                                       24 a cumulative 14 years of dealing with cases.
25    Q.   Have you ever seen an instance where a voter                   25    Q.    And what is your sense?
                                                               Page 214                                                                 Page 216
 1 cast a ballot for a family member who was ineligible                    1    A.    The exception to the rule.
 2 because the family member was dead?                                     2    Q.    What would be fair to say, also, though, that
 3    A.   I'm trying to think of whether I have any of                    3 you are less likely to learn of an instance in which a
 4 those cases on the resolved prosecutions spreadsheet.                   4 family member votes for another family member because
 5 But I -- I could say I have seen that scenario, but I                   5 it's isolated and there are fewer people to report it?
 6 would be limited to talking about the facts of those                    6    A.    I would say we're probably equally likely to
 7 scenarios unless they've been resolved prosecutions.                    7 learn of it if the voter is deceased, for example,
 8    Q.   Would the answer be the same if I asked you if                  8 because there are ways that gets flagged by the system.
 9 you've ever seen instances where a voter cast the ballot                9 If it's a -- we might -- anytime a voter is aware that
10 for a family member who was ineligible because the                     10 their ballot has been taken and voted against their will
11 family member was no longer a resident of the                          11 or they show up to vote in person to vote but they're
12 jurisdiction?                                                          12 told, "No, you've already voted by mail," or something
13    A.   We've had lots of residency cases, but I don't                 13 like that, it's fairly likely that that could get
14 remember one where a vote was cast for a family member.                14 reported.
15    Q.   You've never seen, for example, parents vote a                 15            So I think I agree with the premise that
16 mail ballot for a child who's in college but that child                16 it is probably more likely in a number of situations for
17 is already gone and voting on their own wherever they                  17 a vote harvesting operation to be reported than a family
18 went?                                                                  18 member. It's also not across the board, and there are
19    A.   I don't recall the fact of the family member                   19 other factors in a vote harvesting operation that make
20 voting another family member's ballot who had, you know,               20 it extremely unlikely for those offenses to be reported,
21 vacated the residency or moved their residency.                        21 as well, such as the fact that if it's done correctly,
22    Q.   Can you give me any other examples of a voter                  22 vote harvesting is invisible to the voter. "Someone
23 casting a ballot for another voter who is ineligible                   23 stopped by to help me with my ballot," and as far as the
24 either because of felony convictions, deceased, absent,                24 voter knows, they voted exactly the way the voter wanted
25 no longer a resident? Any other examples of people                     25 them to vote, because I asked you, "Who would you like

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                                                             Page 217                                                                Page 219
 1 to vote for for this race?" And I may or may not                      1              MS. PERALES: Yes.
 2 mention the down ballot races, which I fill in for the                2    Q.   Okay. We're back on the record. I was -- and
 3 people that I'm actually working for, because I don't                 3 I'm also checking -- okay. I was asking you some
 4 care about who's up ballot when I'm vote harvesting. I                4 questions about the attorney-client relationship.
 5 care about local elections that I'm getting paid for.                 5              Look, it's the end. You can see right
 6           So, you know, done properly, vote                           6 here, there's nothing -- there's nothing down below,
 7 harvesting is invisible to the voter, and unless there's              7 so --
 8 a situation where something has been just completely --               8              MR. HUDSON: You can't sweet talk him into
 9 you know, without the voter's knowledge or consent,                   9 answering your question.
10 there has been an application for a mail ballot and they             10              THE WITNESS: That's exciting.
11 are planning on voting in person and find out that,                  11              MR. HUDSON: For purposes of the record,
12 "Wait a second. No, I already voted by mail? No, I                   12 we're all laughing. I know this isn't being recorded,
13 don't." That's going to get reported a lot of the time,              13 but I want to make it very clear that we're all
14 you know. So I agree and -- and would disagree or                    14 chuckling about that one.
15 distinguish --                                                       15              MS. PERALES: Yes, it's all in good humor.
16    Q.   Uh-huh.                                                      16 And I've been foiled by Mr. Hudson and my charm
17    A.   -- on other grounds.                                         17 offensive.
18    Q.   Is it also the case that if a voter assister, a              18    Q.   (By Ms. Perales) So I do have some questions
19 mail ballot voter assister is doing everything the way               19 for you about the attorney-client privilege, which is,
20 that they are supposed to do, that the experience is                 20 is there a difference, in your mind, in terms of whether
21 similarly seamless for the voter, who understands that               21 you've formed an attorney-client relationship with a
22 the assister is filling out according to their wishes                22 legislator or whether you are giving fact information --
23 and helping them with the ballot and in a completely                 23 for example, like the number of prosecutions or what a
24 appropriate way. The voter would similarly have a                    24 prosecution was about -- versus advising them on
25 seamless and non-troubling experience with that?                     25 something like the interpretation of statutory language?
                                                             Page 218                                                                Page 220
 1    A.   Yeah. And I would say it's more likely that                   1 Do you draw a distinction there at all?
 2 the voter would have a bad experience when the vote                   2              MR. HUDSON: I'm going to object. That's
 3 harvester is doing the wrong thing, but, yeah, I think                3 an improper contention. Mr. White is here as a fact
 4 that that's the challenging -- that's the challenge of                4 witness, not to give legal opinions about
 5 investigating mail ballot fraud and proving it after the              5 attorney-client, attorney work product. We also have a
 6 fact, is that, done correctly, it may look to the voter               6 stipulation on the record. With that, I'll instruct you
 7 just like it's done appropriately.                                    7 not to answer to the extent that your answer would
 8    Q.   I'm going to ask you no more questions about                  8 encroach on any stipulated privileges. To the extent
 9 your testimony.                                                       9 that you can answer, you're free to do so.
10           Is it -- is it your contention that when                   10    A.   I don't -- I don't know that I can.
11 you are advising a legislator during the legislative                 11    Q.   Okay. Well, that was -- that is me kind of
12 process about facts related to voter fraud, that you                 12 getting closer to what I really want to ask you about,
13 have an attorney-client relationship with the                        13 which is discussions that you've had with legislators
14 legislator?                                                          14 that you consider not privileged by the attorney-client
15           MR. HUDSON: I'm going to object to the                     15 privilege. Not every discussion you've ever had with a
16 extent that that would encourage attorney-client                     16 legislator can be understood to be attorney-client
17 privilege between me and my client, or attorney work                 17 privileged. Would you agree with me on that?
18 product, or legislative privilege. To the extent that                18    A.   Certainly not questions that I was asked at a
19 you can answer that without revealing any                            19 legislative committee hearing. Things like that would
20 attorney-client privilege or any other privileges,                   20 be -- would be covered, I would agree.
21 you're free to do so. Otherwise, I'm instructing you                 21    Q.   So for the purpose of the record, are you
22 not to answer.                                                       22 asserting that any private conversation you would have
23    A.   I don't know that I can.                                     23 had with a legislator, regardless of the content, would
24           THE REPORTER: Can we take a short break?                   24 be privileged as attorney-client privilege?
25           (Brief recess.)                                            25              MR. HUDSON: Same objections.

Entero v Texas 5:21-cv-844 (XR)                            Entero v Texas                             55 (217 - 220) Jonathan Sherman White


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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                   STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                               APPENDIX AA
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                              IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et al.,               §
       Plaintiffs,                                 §
                                                   §
  v.                                               §    Case No. 5:21-cv-844-XR
                                                   §
  GREGORY W. ABBOTT, et al.,                       §
       Defendants.                                 §




DECLARATION OF JONATHAN WHITE
          I, Jonathan White, pursuant to 28 U.S.C. 1746, am executing this declaration as part of my

assigned duties and responsibilities. I declare under penalty of perjury that the facts stated below

are true and correct to the best of my personal knowledge and belief.

       1. I am over 18 years of age, of sound mind, and otherwise competent to make this
          Declaration. The evidence set out in the foregoing Declaration is based on my personal
          knowledge.

       2. I am the former Division Chief of the Election Integrity Division of the Office of the
          Attorney General of Texas and submit this Declaration in support of the State’s Motion for
          Summary Judgment in the above-captioned case.

       3. I have been involved in election fraud prosecutions as some portion of my work since I
          started at the Attorney General’s office 15 years ago in the White Collar Crime and Public
          Integrity Section of the Criminal Prosecutions Division. Through the years, our election
          caseload expanded, resulting in the creation of an Election Fraud Section, and ultimately
          the Election Integrity Division. In that time, I have reviewed hundreds of investigations,
          and handled approximately 100 prosecutions, many of which were complex, involving
          multiple, if not dozens, of election offenses.

       4. The Election Integrity Division receives complaints about potential election fraud
          forwarded primarily from the Secretary of State’s office. Our investigators then determine
          whether the facts support an allegation of fraud, and, if warranted, the Election Integrity
          Division prosecutes the offenses or assists counties in prosecuting the offenses. This
          prosecution role has evolved somewhat since the end of 2022.



                                                   1
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5. During my tenure as Division Chief of the Election Integrity Division, I became familiar
   with the administration and operations of Texas elections, including the tasks, practices,
   and responsibilities that local Texas election authorities must fulfill; and the laws and
   regulations with which local election authorities must comply to plan, coordinate, manage,
   and execute a successful election.

6.




7.




8.




9.



10.




11.




                                            2
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12.




13.




14.




15.




                                  3
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16.

                                    the Court of Criminal Appeals’ ruling in State v. Zena
      Stephens, which declared the AG’s statutorily granted authority to prosecute election cases
      unconstitutional.

17. All mail ballots, due to their nature of being handled and voted outside of a polling location,
                                                                           In the polling location,
    in-person voters have election judges and poll watchers to make sure that there is no
    electioneering; no harassment, pressure, or persuasion being placed on the voter to vote a
    certain way; that no one is marking the voter’s ballot without authorization; and that the
    vote is actually turned in, counted, and not altered by any person. Paid operatives are not
    allowed to loiter in the polling place, or to collect ballots from voters and remove them
    from the polling place, with a promise to turn them in later on behalf of the voter.
                                                                . There are laws prohibiting many
    of these bad acts,




18.




                                                              The City of Carrolton spans three
      different counties,


19.




20.


                                               4
  Case 5:21-cv-00844-XR Document 1129-2 Filed 04/29/24 Page 27 of 69




21.




22.
                                                                                              Once
      processed and removed from their envelopes, ballots are entirely anonymous and
      untraceable. They cannot be identified for removal from counting. Additionally, once a
      voter requests a mail ballot, they are unable to vote at a polling place without surrendering
      their mail ballot or going to election headquarters to file paperwork, including a sworn
      affidavit.




23.




24.




25.




                                                5
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26.




27.




28.




29.




30.




                                  6
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31.




32.




33. Prior to SB1, one requirement intended to protect the integrity of the mail ballot was
    comparing the signature on the carrier envelope with the signature on the application for
    ballot by mail or another signature on file.



34.




35.




                                            7
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36.




37.




38.




39.                                                                           in
      Gregg County.


                              Shannon Brown, Marlena Jackson, Charlie Burns, and

                                  8
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      DeWayne Ward were indicted and pled guilty to election fraud




40. SB1 requires a voter to provide an ID number (either a driver’s license, Texas ID, election
    identification certificate, DPS-issued personal identification card number, or the last 4
    digits of an SSN) in order to apply for and cast a ballot by mail.




41.




42.



43.




44.



45.




                                             9
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            Transcript of the Testimony of
                      Jonathan White


                              Date:
                         May 05, 2022



                              Case:
LA UNION DEL PUEBLO ENTERO vs STATE OF TEXAS
          Case 5:21-cv-00844-XR Document 1129-2 Filed 04/29/24 Page 34 of 69
     Jonathan White                                                          May 05, 2022
                                                                                        ·


·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO· · · · · )
· · ENTERO, et al,· · · · · · · ·)
·4· · · · · · · · · · · · · · · ·)
· · · · · · · · · ·Plaintiffs,· ·)
·5· · · · · · · · · · · · · · · ·) CIVIL ACTION
· · VS.· · · · · · · · · · · · · )
·6· · · · · · · · · · · · · · · ·) NO.: 5:21-cv-844(XR)
· · STATE OF TEXAS, et al,· · · ·) (Consolidated Cases)
·7· · · · · · · · · · · · · · · ·)
· · · · · · · · · ·Defendants.· ·)
·8· · · · · · · · · · · · · · · ·)

·9· · · · · · ·-----------------------------------

10· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF

11· · · · · · · · · · · ·JONATHAN WHITE

12· ·Designated Representative for the Office of the Texas

13· · · · · · · · · · · Attorney General

14· · · · · · · · · · · · ·MAY 5, 2022

15· · · · · · ·-----------------------------------

16· · · ·ORAL DEPOSITION OF JONATHAN WHITE, produced as a

17· witness at the instance of the DEFENDANTS, and duly

18· sworn, was taken in the above-styled and numbered cause

19· on May 5, 2022, from 10:02 a.m. to 4:06 p.m. before Miah

20· Parson, CSR in and for the State of Texas, reported by

21· oral stenography, at the Offices of the Attorney General

22· 300 W. 15th Street Austin, Texas 78701, pursuant to the

23· Federal Rules of Civil Procedure and the provisions

24· stated on the record or attached hereto.

25


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Jonathan White                                                                                                   May 05, 2022
                                                                                                               Pages 90 to 93
                                                         Page 90                                                             Page 92
·1· and incomplete hypothetical.                                   ·1· privilege, similar processes privilege, to the extent
·2· · · ·A.· I don't have a position on that very specific         ·2· you can respond without encroaching on those privileges,
·3· scenario to share.· I can say that we not entered into         ·3· you may do.· Otherwise I'm instructing you not to
·4· one of those agreements historically.                          ·4· answer.
·5· · · ·Q.· Thank you.· That was my next question.                ·5· · · ·A.· I know way of knowing if the attorney general
·6· · · ·A.· I knew it was.                                        ·6· would ever use it.· We have never used it in the past
·7· · · ·Q.· So if we could turn back to Exhibit No. 5             ·7· and as I previously testified here and before the
·8· which was Chapter 273 of the election code.· I'd like to       ·8· legislature is we always used a soft touch and a
·9· go to 273.022 which is also on Page 2 and I'll just read       ·9· cooperative approach with local prosecutors.· We'd never
10· it out slowly.· Title is cooperation with local                10· desired to step on a local prosecutor's toes or tried to
11· prosecutor.· The attorney general may direct the county        11· force them to do anything or be involved in anything
12· or district attorney serving the county in which the           12· that they didn't want to be.
13· offense is to be prosecuted to prosecute an offense that       13· · · ·Q.· Okay.· Thank you.· So handing you what I've
14· the attorney general is authorized to prosecute under          14· marked as Exhibit 8, which is a copy of SB1 enrolled.
15· Section 273.021 or to assist the attorney general in the       15· Just confirm that for me.
16· prosecution.· Did I read that correctly?                       16· · · · · · · · (Exhibit No. 8 marked.)
17· · · ·A.· Yes, sir.                                             17· · · ·A.· Yes, sir.
18· · · ·Q.· Has the OAG ever used this authority to direct        18· · · · · · · · MR. HUDSON:· In the interest of short
19· a county prosecutor to prosecute an offense without the        19· circuiting out objections on the document itself as he's
20· OAG's involvement?                                             20· asking questions.· Can you verify where you got it from
21· · · ·A.· Not to my recollection.                               21· and the reason I ask that is, is there's an actual
22· · · ·Q.· Has the OAG ever used this authority to direct        22· signed copy on the Secretary of States website.· I don't
23· a county prosecutor to assist the OAG in a prosecution?        23· know if this is the final enrolled copy or not.· Is
24· · · ·A.· I think my answer would be the same as it was         24· there any chance I can get you to clarify that?
25· to your similar question under Section 273.002 to the          25· · · ·Q.· (BY MR. DOLLING) I cannot remember exactly what

                                                         Page 91                                                           Page 93
·1· extent that we've ever done this we have never directed        ·1· the website is called, but it's the legislative look up
·2· a district attorney to prosecute or assist. It's               ·2· that's provided by the state on the capital website or
·3· possible that we may have mentioned this provision and         ·3· whatever it is.
·4· now refreshing my recollection that there are separate         ·4· · · · · · · · MR. HUDSON:· Thank you.
·5· provisions for investigations and prosecution, I'm not         ·5· · · ·Q.· (BY MR. DOLLING)· So, Mr. White, do you
·6· sure which is which, but if we ever used it would have         ·6· understand that when text is struck through it means
·7· been the same circumstances I described before as it           ·7· that SB1 removed that text from the law?
·8· would have been a soft touch.· It would have been a            ·8· · · ·A.· Yes, sir.
·9· request that we would not have pushed without agreement        ·9· · · ·Q.· And when text is underlined it means that the
10· of the district attorney.· And at most it would have           10· text was added by --
11· been a reference to a code section, but never a                11· · · ·A.· Yes.
12· mandatory directive.                                           12· · · ·Q.· Okay.· And then if we turn to Page 75
13· · · ·Q.· Okay.· And so I guess that means that the OAG         13· Section 10 -- oh sorry.· Wait for you to get there.
14· has never utilized this provision against a county             14· · · ·A.· Yes, sir.
15· prosecutor's wishes?                                           15· · · ·Q.· It says, Section 10.04 says, this act takes
16· · · ·A.· Exactly.· Not -- not used it per se, but it           16· effect on the 91st day after the last day of the
17· could have been referenced with regards to a request.          17· legislative session; is that correct?
18· · · ·Q.· Okay.                                                 18· · · ·A.· Yes, sir.
19· · · ·A.· It was not, you know, a directive or mandatory        19· · · ·Q.· And would you agree with me that that means
20· in nature.                                                     20· that SB1 took effect on December 2nd, 2021?
21· · · ·Q.· Would the OAG ever use this authority if a            21· · · ·A.· Sounds correct.
22· county prosecutor did not want to prosecute or assist          22· · · ·Q.· And so when I refer to the effective date of
23· with the -- in the -- the prosecution?                         23· SB1, I'm referring to December 2nd, 2021?
24· · · · · · · · MR. HUDSON:· Object as to attorney/client        24· · · ·A.· Yes, sir.
25· privilege, work product doctrine, investigative                25· · · ·Q.· So can we turn to Section 2.04 which is I think

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Jonathan White                                                                                                   May 05, 2022
                                                                                                             Pages 142 to 145
                                                         Page 142                                                            Page 144
·1· receive specific to their work on violation of election         ·1· · · ·A.· Certainly.
·2· laws of Texas?                                                  ·2· · · ·Q.· And you testified a lot election security is on
·3· · · ·A.· I generally provide training to my group on the        ·3· the honor system.· Do you call testifying to that?
·4· election laws.· I'm not aware of any source such as             ·4· · · ·A.· Yes, ma'am.
·5· TDCAA, any source that provides election specific               ·5· · · ·Q.· What do you mean by that?
·6· training to prosecutors.                                        ·6· · · ·A.· If I check the box that's on a voter
·7· · · ·Q.· And those trainings that you provide to the            ·7· registration application and affirm and swear that I'm
·8· investigators within Election Integrity Unit do you             ·8· eligible to vote the system essentially in the past has
·9· sometimes use power points?                                     ·9· taken people at their word and register them to vote
10· · · ·A.· I dont.· They're generally one on one.                 10· vote and let them vote when they come to the pole and
11· · · ·Q.· Are there any written materials that are               11· let's the check in.· So voting in that sense in terms of
12· provided as training materials to those investigators?          12· eligibility has been primarily on the honor system.
13· · · ·A.· No, I don't believe.                                   13· · · ·Q.· And there are other kinds of government
14· · · ·Q.· You testified that the Election Integrity              14· benefit's or processes that operate on the honor system
15· Division was stood up as an independent division because        15· as well, correct?
16· the Election Integrity issues are so complex or at least        16· · · · · · · · MR. HUDSON:· ·Objection; form.· Foundation.
17· that's one of the reasons; is that correct?                     17· · · ·A.· I sort of stay in my lane of Election Integrity
18· · · ·A.· It's a specialized field.                              18· you may be right.
19· · · ·Q.· Would you recall whether you had desribed it as        19· · · ·Q.· (BY MS. OLSON)· So you simply don't know if
20· complex before?                                                 20· there are other torts, for example, Social Security
21· · · ·A.· They are complex cases.                                21· applications that might operate on the honor system.
22· · · ·Q.· And I think you then -- explaining the term            22· · · · · · · · MR. HUDSON:· Objection; form.· Foundation
23· complex to Mr. Dolling said that voting takes place in a        23· Objection.· Outside of the scope.
24· block box.· Do you recall that?                                 24· · · ·A.· I think what you're saying may be true. I
25· · · ·A.· I do recall that.                                      25· don't have enough experience with the system to know

                                                         Page 143                                                            Page 145
·1· · · ·Q.· What do you mean by voting takes place in a            ·1· where the gaps are and how easy they are to fit through.
·2· black box?                                                      ·2· · · ·Q.· (BY MS. OLSON)· And so it may be that the
·3· · · ·A.· Well, what I testified in terms of the secrecy         ·3· election security being on the honor system is no
·4· of the ballot provides a certain shroud around the              ·4· different than in a lot oh other circumstances where
·5· voting process that's protected.· We generally don't            ·5· conduct is on the honor system?
·6· have or didn't used to have cameras in the polling place        ·6· · · · · · · · MR. HUDSON:· Same objections.
·7· particularly with the mail balloting process.· Mail             ·7· · · ·A.· It sounds like -- it sounds like the examples
·8· ballots operate in an uncontrolled environment.                 ·8· that your giving may be similar examples that may be
·9· Someone's home, there's no election officials around.           ·9· investigated and prosecuted federally, but maybe not on
10· So there -- there's quite a bit of the process that is          10· a state level on some of those.
11· not really outfitted with a whole lot of security               11· · · ·Q.· (BY MS. OLSON) Have you ever prosecuted any
12· features at least historically speaking.                        12· benefit fraud cases on the state level?
13· · · ·Q.· That's not any different from some other kind          13· · · ·A.· I haven't.
14· of fraud, correct?                                              14· · · ·Q.· And so it might be the same on the state level
15· · · ·A.· I think it might be.                                   15· someone filled out a form indicating that they're
16· · · ·Q.· Well, for example, if you had a caregiver who's        16· eligible for some sort of state benefit that also might
17· taking care of another person some reason and has their         17· be done on the honor system, correct?
18· power of attorney that person would have the ability to         18· · · · · · · · MR. HUDSON:· Same objections.
19· embezzle funds or take funds with really hardly any             19· · · ·A.· I haven't heard of state prosecutions for
20· oversight, correct.                                             20· benefits fraud.
21· · · ·A.· Correct.· Particularly if that person had              21· · · ·Q.· (BY MS. OLSON)· So you just don't have any
22· dementia or something like that that might be very              22· knowledge one way or the other whether that would be an
23· similar to what we see.                                         23· appropriate example or appropriately similar to being
24· · · ·Q.· So there's other· similar kinds of investment          24· something that's on the honor system similar to election
25· challenges and other kind of criminal activity, correct?        25· security?


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Jonathan White                                                                                                  May 05, 2022
                                                                                                            Pages 146 to 149
                                                       Page 146                                                            Page 148
·1· · · ·A.· Correct I haven't really seen those cases in          ·1· credible allegations of a violation of the election
·2· 14 years.                                                      ·2· code.· Do you recall that question?
·3· · · ·Q.· You indicated that there were also complexities       ·3· · · ·A.· Yes, I believe I do.
·4· in the prosecution of election law cases; is that              ·4· · · ·Q.· And I think your answer was yes that the policy
·5· correct?                                                       ·5· of the office of the attorney general to investigate all
·6· · · ·A.· Yes, ma'am.                                           ·6· credible allegations; is that right?
·7· · · ·Q.· And I think you talked about how there were           ·7· · · · · · · · MR. HUDSON:· Objection; form.· Foundation
·8· often times in a matter that was investigated there            ·8· objection.· Remind you the stipulation concerning his
·9· could be hundred of ballots affected, for example,             ·9· presentation on responding to that tweet.
10· correct?                                                       10· · · · · · · · MS. OLSON:· Well, with respect to your
11· · · ·A.· Yes.                                                  11· objection,· Mr. Hudson, Mr. Dollings question that I
12· · · ·Q.· And that the conviction stage you typically           12· repeated back was asked in a much earlier portion of the
13· didn't hold that number because you couldn't get every         13· deposition.
14· witness every voter and they may not be able to identify       14· · · ·Q.· So do you recall that prior to being asked
15· the person who came and got the ballot from them is that       15· about the tweet, do you recall Mr. Dollig's question, is
16· a fair summary of what you testified to before?                16· it fair to say that the office of the Attorney General
17· · · ·A.· I think so more or less.                              17· has a policy of investigating all credible allegations
18· · · ·Q.· And some of your cases have been resolved by a        18· of a violation of the election code?
19· plea agreement; is that correct?                               19· · · ·A.· I do remember that question.
20· · · ·A.· Yes, ma'am.                                           20· · · ·Q.· And do you recall what your answer was?
21· · · ·Q.· And that doesn't require any witness to take          21· · · ·A.· I think I do.
22· the stand?                                                     22· · · ·Q.· And what was your answer?
23· · · ·A.· That's correct.                                       23· · · ·A.· I think I answered that, I was not prepared to
24· · · ·Q.· And what has been the largest number of               24· make a policy statement by the Attorney General's office
25· harvested ballots in a case of conviction whether by           25· on that specific language, but that our practice in the

                                                        Page 147                                                           Page 149
·1· trial or by plea?                                              ·1· Election Integrity Division is to or Election Integrity
·2· · · ·A.· And do you mean.                                      ·2· Unit evaluates every credible complaint, then determines
·3· · · ·Q.· For a single Defendant what is the -- based on        ·3· whether to proceed with an investigation and that we do
·4· your knowledge of these cases, what is the highest             ·4· not blanket, exclude any specific type of case we don't
·5· number of ballots that someone has plead guilty to or          ·5· have a standing policy that we actually filter out
·6· been convicted of harvesting?                                  ·6· cases.
·7· · · ·A.· I don't know that off the top of my head, but         ·7· · · ·Q.· And I think the term credible allegations was
·8· it would probably be a small number.                           ·8· actually Mr. Dolling's term, but is there a phrase where
·9· · · ·Q.· Even if it were a conviction by way of a plea         ·9· a standard practice is used by the Election Integrity
10· agreement?                                                     10· unit to assess whether somethings a credible allegation?
11· · · ·A.· Correct.· Normally.· Normally that's how plea         11· · · · · · · · MR. HUDSON:· Objection; form.
12· agreements work.                                               12· Argumentative.
13· · · ·Q.· Is it fair to say when you say normally that's        13· · · ·A.· I don't believe there's a defined standard for
14· how plea agreements work, what do you mean?                    14· what credible is.
15· · · ·A.· One of the primary negotiation terms in a plea        15· · · ·Q.· (BY MS. OLSON)· And, for example, I'll tell you
16· would be to get the number of counts down to one that's        16· that in some prosecutors offices or some investigating
17· what a defense attorney would be looking to get the            17· officers the standard is if the facts as alleged would
18· number of offenses the Defendant is pleading guilty to         18· make out a violation of the statute they will initiate
19· to down to one.· And usually a lower level of offense.         19· an investigation.· So is there anything like that a
20· · · ·Q.· But then that's all they're convicted of,             20· standard that is used when reviewing and complaint a
21· correct?                                                       21· standard that is used by the Election Integrity Unit· to
22· · · ·A.· That's correct.                                       22· determine whether or not it's going to move forward on
23· · · ·Q.· I think, Mr. Dolling asked you the question,          23· investigation?
24· his question was, is it fair to say that the office of         24· · · ·A.· Not as such that's a very baseline standard.
25· the attorney general ahs a policy of investigating all         25· We would have that standard in place because if a


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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                   STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                               APPENDIX BB
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                   STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                               APPENDIX CC
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     J. Scott Wiedmann                                                    July 29, 2022
                                                                                      ·


·1· · · · · · · · UNITED STATES DISTRICT COURT
· · · · · · · · · · · · · · FOR THE
·2· · · · · · · · ·WESTERN DISTRICT OF TEXAS

·3

·4· ·LA UNION DEL PUEBLO ENTERO, et. al. )
· · · · · · · ·Plaintiff,· · · · · · · · )
·5· · · · · · · · · v.· · · · · · · · · ·)Civil Action No. 5:21-cv-00844-XR
· · ·GREGORY W. ABBOTT, et al.· · · · · ·)
·6· · · · · · · · · · · · · · · · · · · ·)
· · · · · · · ·Defendant.· · · · · · · · )
·7

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·9· ·- - - - - - - - - - - - - - - - - - - - - - - - - x

10· ·Deposition of J. SCOTT W, WIEDMANN, taken pursuant to Subpoena to

11· ·testify at Deposition, was held at the U.S. Department of Justice, 150

12· ·M Street NE, 8th Floor, Washington, DC 20002, commencing July 29, 2022

13· ·at 9:48 A.M., on the above date, before JEANINN ALEXIS, a Stenographer

14· ·and Notary Public in and for the District of Columbia.

15· ·- - - - - - - - - - - - - - - - - - - - - - - - - x

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·1· ·the last four digits.                                    ·1· · · · Q· · And do you know what happens if the voter
·2· · · · · · ·Is that correct?                               ·2· ·does not check one of these boxes?
·3· · · · A· · If they have such number, yes.                 ·3· · · · A· · So these boxes would serve a couple
·4· · · · Q· · Is there anything about paragraph 6 that you   ·4· ·purposes.· One is as stated in the red box at the top,
·5· ·believe is now inaccurate as compared to when you        ·5· ·the form is intended for active duty military and
·6· ·wrote this particular draft?                             ·6· ·their families who are absent from their voting
·7· · · · A· · I believe paragraph 6 is accurate.             ·7· ·jurisdiction or US citizens outside the United States.
·8· · · · Q· · Are there any changes you would make to        ·8· · · · · · ·So if an individual submitting this form did
·9· ·paragraph 6 since the time you wrote this initial        ·9· ·not check one of these five boxes, it would be
10· ·draft?                                                   10· ·difficult for the local election office to determine
11· · · · A· · I don't believe so.                            11· ·if this person is actually an individual who is
12· · · · Q· · You can put Exhibit 2 to the side, but I       12· ·covered by Uniformed Overseas Citizens Absentee Voting
13· ·wouldn't put it too far.                                 13· ·Act.
14· · · · · · ·(Wiedmann Deposition Exhibit 3 marked for      14· · · · Q· · So -- oh, sorry.
15· ·identification.)                                         15· · · · A· · That's the primary reason for those boxes.
16· · · · · · ·BY MS. HUNKER:                                 16· · · · Q· · So if an individual does not check one of
17· · · · Q· · Do you have Exhibit 3 in front of you?         17· ·these boxes, they would have their application
18· · · · A· · Yes.                                           18· ·rejected.
19· · · · Q· · And do you recognize this document?            19· · · · · · ·Is that correct?
20· · · · A· · Yes, I do.                                     20· · · · A· · I would say it depends on the state and what
21· · · · Q· · This is a voter registration absentee ballot   21· ·their procedures are as to what to do with a Federal
22· ·request specifically known as a Federal Post Card        22· ·Post Card Application.· They may not reject it

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·1· ·Application; is that correct?                            ·1· ·outright.· They may put it on hold and contact the
·2· · · · A· · It appears to be, yes.                         ·2· ·voter or they could reject it outright and send a
·3· · · · Q· · I will represent to you that I got this        ·3· ·notification to the voter.· It depends on the state's
·4· ·particular Federal Post Card Application from the        ·4· ·procedures.
·5· ·Federal Voting Assistance Program's website.             ·5· · · · Q· · But if -- a voter does not fill out one of
·6· · · · · · ·Do you have any reason to doubt on that?       ·6· ·these five boxes would not have their FPCA accepted.
·7· · · · A· · I do not.· I haven't read every word but I     ·7· · · · · · ·Is that right?
·8· ·have no reason to doubt it.                              ·8· · · · A· · I can't say what a state would accept or not
·9· · · · Q· · And so there are a bunch of different          ·9· ·accept.
10· ·fields.· Let's look at Section 1 first.· It says, Who    10· · · · Q· · But would you agree with me that certain
11· ·are you pick one.· And then it has four check boxes      11· ·states would require the voter either resubmit the
12· ·which reads, I am on active duty in the Uniformed        12· ·form or provide additional information before
13· ·Services or Merchant Marines or I am an eligible         13· ·accepting the FPCA in the event the voter did not fill
14· ·spouse or dependent.· Two, I am a US citizen living      14· ·out one of these five boxes?
15· ·outside the country and I intend to return.· Three, I    15· · · · A· · I would agree with that statement, yes.
16· ·am a US citizen living outside the country and my        16· · · · Q· · And also in Section 1, we have fields for
17· ·intent to return is uncertain.· And, Four, I am a US     17· ·last name, first name, and middle name as well as
18· ·citizen living outside the country.· I have never        18· ·previous names, birth date; is that correct?
19· ·lived in the United States.                              19· · · · A· · Yes.
20· · · · · · ·Did I read those correctly?                    20· · · · Q· · And also in Section 1, there's a field for
21· · · · A· · You did.· I would characterize them as five    21· ·social security numbers; is that right?
22· ·options, but you did read them correctly.                22· · · · A· · Yes.




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·1· · · · Q· · And there is also a field for driver's              ·1· ·out.
·2· ·license or state ID numbers; is that right?                   ·2· · · · Q· · So you don't know what percentage of voters
·3· · · · A· · Yes.                                                ·3· ·would fill in a field for social security numbers or
·4· · · · Q· · And so the fields with social security       ·4· ·driver's licenses; is that right?
·5· ·numbers and driver's license or state ID number are on ·5· · · · A· · That is correct.· I do not know.
·6· ·the Federal Post Card Application?                     ·6· · · · Q· · So you mentioned that these fields have been
·7· · · · · · ·Is that right?                               ·7· ·on the form for quite some time.· Do you know why they
·8· · · · A· · Yes, they are.                                      ·8· ·were put on the form?
·9· · · · Q· · And you had stated before that the Federal          ·9· · · · A· · So the form is to facilitate communications
10· ·Post Card Application did not change as a result of           10· ·between the voter and their election office so the
11· ·Senate Bill 1; correct?                                       11· ·voter can provide information necessary so they can be
12· · · · A· · That's correct.                                     12· ·registered to vote and to have a ballot sent to them.
13· · · · Q· · So the social security number field and             13· ·So if a state -- if states require these, that's why
14· ·driver's license field existed on the Federal Post            14· ·they will be on there.
15· ·Card Application independent of Senate Bill 1; is that        15· · · · Q· · And so the field on the Federal Post Card
16· ·correct?                                                      16· ·Application for social security number and driver's
17· · · · A· · That's correct.                                     17· ·license number is to facilitate registration and
18· · · · Q· · Now, you had mentioned that you do updates   18· ·absentee ballot requests with the state; is that
19· ·for the Federal Post Card Application every two years. 19· ·right?
20· ·Was the social security number field and the driver's  20· · · · A· · As part of the form as a whole, yes.
21· ·license number field added in 2021 or did it           21· · · · Q· · And do you know what occurs if an individual
22· ·pre-exist?                                                    22· ·does not provide their birth date on the Federal Post

                                                         Page 51                                                           Page 53
·1· · · · A· · It pre-existed, to the best of my                   ·1· ·Card Application?
·2· ·recollection.                                                 ·2· · · · A· · I believe it will be something similar to
·3· · · · Q· · So the social security number field and the         ·3· ·the other check boxes in that the state would, based
·4· ·driver's license number field pre-existed on the              ·4· ·on the state rules, regulations, procedures, determine
·5· ·Federal Post Card Application prior to 2021; is that          ·5· ·whether or not the form could be accepted and/or they
·6· ·right?                                                        ·6· ·would have to communicate with the voter for
·7· · · · A· · Yes.                                                ·7· ·subsequent information prior to accepting the form.
·8· · · · Q· · Do you know when they were added to the             ·8· · · · Q· · So you would agree with me that if an
·9· ·form?                                                         ·9· ·overseas or military voter did not provide a birth
10· · · · A· · I cannot recall them not being on the form.         10· ·date on a Federal Post Card Application, that some
11· · · · Q· · And you've been working with the Federal            11· ·states would require the voter to either resubmit the
12· ·Voting Assistance Program since 1993; is that right?          12· ·form or, in some way, communicate the information to
13· · · · A· · Yes.                                                13· ·the state; is that right, before accepting the
14· · · · Q· · And since 1993, you do not recall a Federal         14· ·application?
15· ·Post Card Application that did not have a social              15· · · · A· · My understanding is that it is a requirement
16· ·security number or a driver's license field; is that          16· ·by the states, yes.
17· ·right?                                                        17· · · · Q· · And have you looked into how states require
18· · · · A· · That is correct.                                    18· ·a military or overseas voter to cure these types of
19· · · · Q· · In your experience, do applicants typically         19· ·defects such as not providing a birth date on the
20· ·fill in all the fields?                                       20· ·Federal Post Card Application?
21· · · · A· · I do not receive these forms so I cannot            21· · · · A· · We do not have -- we do not collect and/or
22· ·comment on what fields are filled out or not filled           22· ·distribute information on the cure process for any




                                                                                                                                     YVer1f
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                                                  Page 66                                                              Page 68
·1· · · · A· · My understanding is that upon receiving this   ·1· · · · A· · Yes, it is one avenue.· It is one back up
·2· ·and it being approved, meeting the states' or            ·2· ·that can be used, yes.
·3· ·localities' requirements for voter registration, than,   ·3· · · · Q· · Look where it says, You can vote wherever
·4· ·yes, all subsequent elections for federal offices that   ·4· ·you are.· This is how.
·5· ·occur during that year, the absentee ballot will be      ·5· · · · · · ·Do you see that?
·6· ·sent to the voter.                                       ·6· · · · A· · Yes.
·7· · · · Q· · So barring a mistake on the form, the voter    ·7· · · · Q· · One, Fill out your voter information page
·8· ·would only have to fill this out one time each           ·8· ·completely and accurately.· The first bullet point
·9· ·calendar year; is that right?                            ·9· ·reads, Your US voting residence is used to determine
10· · · · A· · As long as that individual's situation has     10· ·where you are eligible to vote absentee.· For military
11· ·not changed.                                             11· ·voters, it is usually the last address in your state
12· · · · Q· · That's a good clarification.· Thank you.       12· ·of legal residence.· For overseas citizens, it is
13· · · · · · ·If we can go back to the first page.· You      13· ·usually the last place you lived before moving
14· ·see Section 2 where it says, What is your address in     14· ·overseas.· You do not need to have any current ties to
15· ·the US state or territory were you're registering to     15· ·this address.· Do not write a post box in Section 2.
16· ·vote and requesting an absentee ballot.                  16· · · · · · ·Did I read this correctly?
17· · · · A· · Yes.                                           17· · · · A· · Yes.
18· · · · Q· · Now, if a voter failed to fill out this        18· · · · Q· · And you agree with me that providing a
19· ·particular section, you will agree with me that the      19· ·voting residence address is required by many states
20· ·state would require the voter to either resubmit their   20· ·for the Federal Write-In Ballot to be accepted?
21· ·Federal Post Card Application or provide additional      21· · · · A· · I do not know to what extent states would
22· ·information before the application was accepted.         22· ·verify all the information on this voter information

                                                  Page 67                                                              Page 69
·1· · · · · · ·Is that correct?                               ·1· ·sheet that's provided.
·2· · · · A· · This would be part of the information          ·2· · · · Q· · And you see in the second bullet point, it
·3· ·required by many states in order to correctly process    ·3· ·says, Most states allow you to provide a driver's
·4· ·the form, yes.                                           ·4· ·license number or the last four digits of your social
·5· · · · Q· · We can put this document to the side.          ·5· ·security number.· New Mexico, Tennessee, and Virginia
·6· · · · · · ·(Wiedmann Deposition Exhibit 4 marked for      ·6· ·require a full social security number.
·7· ·identification.)                                         ·7· · · · · · ·Did I read that correctly?
·8· · · · · · ·BY MS. HUNKER:                                 ·8· · · · A· · Yes.
·9· · · · Q· · This is Exhibit No. 4.· Do you have the        ·9· · · · Q· · And so for those states, mainly New Mexico,
10· ·document in front of you?                                10· ·Tennessee, and Virginia, based on this document, a
11· · · · A· · Yes.                                           11· ·voter would have to put on there their driver's
12· · · · Q· · And do you recognize this document?            12· ·license number or their full social security number in
13· · · · A· · It looks like it is a complete Federal         13· ·order to accurately fill out and have their Federal
14· ·Write-In Absentee Ballot form.                           14· ·Write-In Absentee Ballot accepted.
15· · · · Q· · And I will represent to you that I took this   15· · · · · · ·Is that correct?
16· ·particular form from the website of the Federal Voting   16· · · · A· · I'm not sure if that's correct because there
17· ·Assistance Program.                                      17· ·are states as listed up above or that are not listed
18· · · · · · ·Do you have any reason to doubt my             18· ·up above that will accept this form as both the
19· ·characterization of this document?                       19· ·registration form and the absentee ballot itself.
20· · · · A· · I do not.                                      20· · · · · · ·So I can't say for sure whether or not those
21· · · · Q· · And so this acts as the backup ballot for      21· ·states would reject the ballot if the voter had
22· ·military and overseas voters; is that correct?           22· ·already gone through the registration process




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                                                       Page 70                                                                 Page 72
·1· ·previously.                                                    ·1· · · · A· · I can't necessarily agree with that because
·2· · · · Q· · Okay.· Would you agree with me that some             ·2· ·I don't -- again, I don't know what states would
·3· ·states require a driver's license number, state ID             ·3· ·require for solely affirming the voter's identity to
·4· ·number, or social security number in order to complete         ·4· ·accept the ballot versus in a state where this might
·5· ·the -- successfully complete the Federal Write-In              ·5· ·be used for registration.
·6· ·Absentee Ballot?                                               ·6· · · · Q· · So what about the states that don't use it
·7· · · · A· · Again, I'm not sure what states, what                ·7· ·as a voter registration form?· For those states, would
·8· ·information on this form states would use to verify            ·8· ·you agree with me that if a voter did not check one of
·9· ·the voter's identification before accepting the voter          ·9· ·these boxes, that the state or states would require
10· ·ballot portion.                                                10· ·the voter to either resubmit the Federal Write-In
11· · · · Q· · And this document is prescribed in your              11· ·Absentee Ballot or, in some way, provide the
12· ·office; correct?                                               12· ·additional information?
13· · · · A· · That is correct.                                     13· · · · A· · That may be the case.· I would agree that
14· · · · Q· · And that is true also from the Federal Post          14· ·may be the case.
15· ·Card Application?                                              15· · · · Q· · And if we look at Section 1, you will see a
16· · · · A· · That is correct.                                     16· ·bunch of different fields like last name; first name;
17· · · · Q· · And so if we turn to page 2, you will see            17· ·middle name; suffix; previous name, if applicable; and
18· ·that it has a bunch of fields where the voter has to           18· ·birth date.
19· ·fill out.                                                      19· · · · · · ·Is that correct?
20· · · · · · ·Is that correct?                                     20· · · · A· · Yes.
21· · · · A· · Yes.                                                 21· · · · Q· · And then we also have a field for social
22· · · · Q· · And like with the FPCA, Section 1 provides a         22· ·security number and driver's license or state ID

                                                          Page 71                                                              Page 73
·1· ·list of five check boxes that read, I am on active             ·1· ·number; is that correct?
·2· ·duty in Uniformed Services or Merchant Marine, I am an         ·2· · · · A· · Yes.
·3· ·eligible spouse with dependent, I a US citizen living          ·3· · · · Q· · And I should specify these fields are
·4· ·outside the country and intend to return, I am a US            ·4· ·separate, so social security is one field, driver's
·5· ·citizen living outside of the country and my intent to         ·5· ·license or state ID is another field?
·6· ·return is uncertain, I am a US citizen living outside          ·6· · · · A· · Yes.
·7· ·the country.· I have never lived inside the United             ·7· · · · Q· · And you had mentioned that the Federal
·8· ·States.                                                        ·8· ·Voting Assistance Program did not make changes to the
·9· · · · · · ·Did I read those correctly?                          ·9· ·form, specifically the federal Write-In Absentee
10· · · · A· · Yes.                                                 10· ·Ballot in response to Senate Bill 1; correct?
11· · · · Q· · And do you know what happens if a voter does         11· · · · A· · That's correct.
12· ·not check one of these five boxes?                             12· · · · Q· · And so the fields that have social security
13· · · · A· · I am not 100 percent sure.· It may depend on         13· ·number and the field that has driver's license or
14· ·whether the voter is using this form for voter                 14· ·state ID number, is this form independent of the
15· ·registration versus just as a way of affirming who             15· ·requirements of Senate Bill 1; is that correct?
16· ·they are upon reaching the ballot.                             16· · · · A· · That's my understanding, yes.
17· · · · Q· · Would you agree with me that in some states,         17· · · · Q· · Were the fields for social security number
18· ·if a voter did not check one of these five boxes, that         18· ·and driver's license or state ID on this form prior to
19· ·the state would require the voter to either resubmit           19· ·2021?
20· ·the write-in ballot or provide additional information          20· · · · A· · Yes.
21· ·before they would accept the Federal Write-In Absentee 21· · · · Q· · And is this also an example of you not
22· ·Ballot?                                                        22· ·remembering the Federal Write-In Absentee Ballot not




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·1· ·having a field for social security number and/or         ·1· ·may tell them to check with the election official to
·2· ·driver's license and state ID?                           ·2· ·see whether or not it's required.
·3· · · · A· · I don't recall whether it was or was not on    ·3· · · · Q· · And if we look to Section 4, it says, What
·4· ·there for my entire time there, but I don't recall       ·4· ·is your contact information.· This is so election
·5· ·that.                                                    ·5· ·officials can reach you about your request.
·6· · · · Q· · Okay.· To your recollection, did these         ·6· · · · · · ·Did I read that correctly?
·7· ·fields exist prior to 2021?                              ·7· · · · A· · Yes.
·8· · · · A· · Yes.                                           ·8· · · · Q· · And there are four fields.· The fields read:
·9· · · · Q· · To your recollection, do you know how long     ·9· ·Email, alternate email, phone, fax.
10· ·they would have been on this form?                       10· · · · · · ·Did I read that correctly?
11· · · · A· · I would say multiple election cycles. I        11· · · · A· · Yes.
12· ·don't remember exactly.                                  12· · · · Q· · And this is in part so that election
13· · · · Q· · So the fields for social security numbers      13· ·officials can get in contact with the voters; is that
14· ·and driver's license or state ID have been on the        14· ·correct?
15· ·Federal Write-In Absentee Ballot for multiple election   15· · · · A· · That would be one reason they would provide
16· ·cycles; is that right?                                   16· ·the information.
17· · · · A· · Yes.                                           17· · · · Q· · And what are the other reasons?
18· · · · Q· · And you don't know what percentage of voters   18· · · · A· · If they are requesting using this as a
19· ·provide either driver's license number or social         19· ·registration form and providing the email so the voter
20· ·security number when filling out this form, do you?      20· ·or the state can either send them a ballot by email or
21· · · · A· · We do not.                                     21· ·through some sort of email with a link-type,
22· · · · Q· · Do you know if voters typically fill in all    22· ·online-type service.

                                                  Page 75                                                       Page 77
·1· ·the fields available?                                  ·1· · · · Q· · And do you recommend to voters that they put
·2· · · · · · ·MS. YUN:· Objection.· Foundation.            ·2· ·their email or phone number?
·3· · · · · · ·BY MS. HUNKER:                               ·3· · · · A· · We do.
·4· · · · Q· · You can answer.                              ·4· · · · Q· · And you wouldn't happen to know what
·5· · · · A· · I do not know how complete the voters submit ·5· ·percentage provide their phone or email?
·6· ·-- complete the form before submission.                ·6· · · · A· · I do not know.
·7· · · · Q· · Does the Federal Voting Assistance Program   ·7· · · · Q· · And then if we look to No. 6, it says, What
·8· ·recommend to voters that they fill out all the fields  ·8· ·additional information must you provide.
·9· ·on this form?                                          ·9· · · · · · ·Did I read that correctly?
10· · · · A· · We recommend voters provide as much          10· · · · A· · Yes.
11· ·information as possible to ensure the election office  11· · · · Q· · And then there are a couple of sentences
12· ·has the information they need to process it and either 12· ·following.· It reads, Alabama requires two witness
13· ·register or have the ballot count.                     13· ·signatures; Alaska, Virginia, and Wisconsin require
14· · · · Q· · Do you recommend that -- when I say you, I   14· ·one witness signature.
15· ·mean the Federal Voting Assistance Program recommend 15· · · · · · ·Did I read that line correctly?
16· ·that voters put down their social security number or   16· · · · A· · Yes.
17· ·their driver's license or state ID number?             17· · · · Q· · And so I take from this that Alabama
18· · · · A· · Again, we would recommend that voters        18· ·requires two witnesses signatures in order for the
19· ·provide whatever information they feel is necessary to 19· ·absentee ballot to be counted.
20· ·ensure that the state can process the form.· If a      20· · · · · · ·Is that correct?
21· ·voter has concern about providing those numbers        21· · · · · · ·MS. YUN:· Objection.· Foundation.
22· ·because of security or whatever other reasons, then we 22· · · · · · ·THE DEPONENT:· In our coordination with the




                                                                                                                            YVer1f
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                   STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                              APPENDIX DD
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                Transcript of the Testimony of
                              Lisa Wise


                                  Date:
                             April 13, 2022



                                  Case:
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     Lisa Wise                                                             April 13, 2022
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·1· · · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · · SAN ANTONIO DIVISION

·3· · LA UNION DEL PUEBLO ENTERO )
· · · et al.,· · · · · · · · · · )
·4· · · · ·Plaintiffs,· · · · · ·)
· · · · · · · · · · · · · · · · ·)
·5· · v.· · · · · · · · · · · · ·) Civil Action No. SA-21-CV-
· · · · · · · · · · · · · · · · ·)· · · · · · 00844-XR
·6· · GREGORY W. ABBOTT, et al., )
· · · · · ·Defendants.· · · · · ·)
·7

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·9· · · · · · ----------------------------------------

10· · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF
· · · · · · · · · · · · · · · LISA WISE
11· · · · · · · · · · · · ·APRIL 13, 2022
· · · · · · · · · · · · · · · Volume 1
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· · · · · · · -----------------------------------------
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15· · · · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF LISA

16· · WISE· produced as a witness at the instance of Plaintiff,

17· · and duly sworn, was taken in the above-styled and

18· · numbered cause on the 13th day of April, 2022 from 10:02

19· · a.m. mountain time to 5:27 p.m. mountain time, before

20· · Nancy Newhouse, a Certified Shorthand Reporter in and for

21· · the State of Texas, reported by oral shorthand, located

22· · at the 500 East San Antonio, Room 503, El Paso, Texas

23· · 79901, pursuant to the Federal Rules of Civil Procedure,

24· · and the provisions stated on the record or attached

25· · hereto.


     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
     210-697-3400                                                             210-697-3408
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                                                                                                                  Pages 138 to 141
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·1· · · · ·A.· ·Correct.                                              ·1· · · · ·A.· ·Yes.
·2· · · · ·Q.· ·(BY MR. WHITE)· So apart from providing your          ·2· · · · ·Q.· ·(BY MR. WHITE)· And when did you start
·3· · driver's license number or your social security number,         ·3· · maintaining that information?
·4· · what other information is required on the form for              ·4· · · · · · · · · ·MS. SPECTOR:· Objection, calls for
·5· · application by ballot by mail?                                  ·5· · speculation.
·6· · · · · · · · · ·MS. SPECTOR:· Objection, vague.                  ·6· · · · ·A.· ·Yeah.· I mean, well before I started.
·7· · · · ·A.· ·Depending on the election there may be a party        ·7· · · · ·Q.· ·(BY MR. WHITE)· Do you remember what the
·8· · selection, if it's a primary; what qualifies you to vote        ·8· · requirement is to keep that information?
·9· · by mail, so obviously your date of birth is required; if        ·9· · · · · · · · · ·MS. SPECTOR:· Objection, vague, calls for
10· · you're voting by mail because of disability, you need to        10· · legal conclusion.
11· · mark that; if you're voting by mail because you're going        11· · · · ·A.· ·I'm sorry, I don't understand the question.
12· · to be out of the county during early voting on Election         12· · · · ·Q.· ·(BY MR. WHITE)· Do you remember what law
13· · Day you mark that and then give us an address outside           13· · required you to gather that information when voters
14· · the county to mail the ballot, that's that on the               14· · registered?
15· · qualifications.                                                 15· · · · · · · · · ·MS. SPECTOR:· Same objections.
16· · · · · · · · · ·The other information is what elections          16· · · · ·A.· ·I -- I don't know the law offhand.· I know
17· · you want.· There is the annual option, which is, if you         17· · that -- that right now that's required from the
18· · qualify, you must be 65 or over or have marked disabled         18· · registration form, and that we do ask for that, but no,
19· · on the application, and in that example we'll give you a        19· · that was well before I lived here, probably even in the
20· · ballot for every election that your jurisdiction is             20· · state of Texas.
21· · participating in, we'll send you one so you don't have          21· · · · ·Q.· ·(BY MR. WHITE)· Does the identification
22· · to keep sending in the application.· Or you can mark the        22· · number, whether it's the driver's license, a
23· · -- this, in this one for example you could mark Democrat        23· · certificate, identification certificate or your social
24· · or Republican primary or any resulting runoff, the              24· · security number, does that end up in the public file
25· · election selection.                                             25· · that can be obtained on voters?

                                                          Page 139                                                                 Page 141
·1· · · · ·Q.· ·(BY MR. WHITE)· What information on the               ·1· · · · · · · · · ·MS. SPECTOR:· Objection, vague.
·2· · application for ballot by mail is used to identify the          ·2· · · · ·A.· ·It's in our system, but it's not run on the
·3· · voter requesting the ballot, apart from the driver's            ·3· · voter file for the publically-released information.
·4· · license number or the partial social -- social security         ·4· · · · ·Q.· ·(BY MR. WHITE)· So if I wrote in and asked for
·5· · number?                                                         ·5· · all the voters registered in El Paso County, I wouldn't
·6· · · · · · · · · ·MS. SPECTOR:· Objection, vague.                  ·6· · get the driver's license number or the social security
·7· · · · ·A.· ·It's generally the name, address and date of          ·7· · number, correct?
·8· · birth.                                                          ·8· · · · ·A.· ·Correct.
·9· · · · ·Q.· ·(BY MR. WHITE)· And is the name of registered         ·9· · · · ·Q.· ·And are the voter registration files regularly
10· · voters on that public file that you maintain?                   10· · requested from your office?
11· · · · ·A.· ·Yes.                                                  11· · · · · · · · · ·MS. SPECTOR:· Objection, vague.
12· · · · ·Q.· ·And is the address on that public file?               12· · · · ·A.· ·Regularly?· I -- I mean, we get -- we get
13· · · · ·A.· ·Yes.                                                  13· · requests.· I don't know exactly how many we've had, but
14· · · · ·Q.· ·And is the date of birth?                             14· · I would say monthly at least.
15· · · · ·A.· ·We do not give date of birth out on the public        15· · · · ·Q.· ·(BY MR. WHITE)· Is it a big file?
16· · file.                                                           16· · · · · · · · · ·MS. SPECTOR:· Objection, vague.
17· · · · ·Q.· ·And now after -- strike that.                         17· · · · ·A.· ·It's large.
18· · · · · · · · · ·Sin -- you maintain driver's license             18· · · · ·Q.· ·(BY MR. WHITE)· How many people are registered
19· · numbers and partial social security numbers in your             19· · in the -- in the system?
20· · voter registration file, is that correct?                       20· · · · ·A.· ·About 495,000.
21· · · · ·A.· ·Yes.                                                  21· · · · ·Q.· ·And do you know who's requesting those files?
22· · · · · · · · · ·MS. SPECTOR:· Objection --                       22· · · · · · · · · ·MS. SPECTOR:· Objection, vague.
23· · · · · · · · · ·THE WITNESS:· Sorry.                             23· · · · ·A.· ·We -- it's we get different people.· We've had
24· · · · · · · · · ·MS. SPECTOR:· -- vague.                          24· · media that requests it, we have campaigns or candidates
25· · · · · · · · · ·It's okay.                                       25· · that request it, we have the city clerks who are allowed


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·1· · by law to have a copy, so they'll take the list, and             ·1· · · · ·Q.· ·(BY MR. WHITE)· So Ms. Wise, I'm going to hand
·2· · that's -- that's about it.                                       ·2· · you another document, I think this is now Exhibit 5.
·3· · · · ·Q.· ·(BY MR. WHITE)· So does adding an additional           ·3· · · · · · · · · ·(Defendant's Exhibit No. 5 was marked for
·4· · requirement to the application for ballot by mail that's         ·4· · identification.)
·5· · not in that public file, would you admit that that makes         ·5· · · · · · · · · ·(Sneeze.)
·6· · it more difficult for somebody to impersonate a                  ·6· · · · · · · · · ·THE WITNESS:· Excuse me.
·7· · registered voter and request their ballot?                       ·7· · · · · · · · · ·VIDEOGRAPHER:· Bless you.
·8· · · · · · · · · ·MS. SPECTOR:· Objection, calls for                ·8· · · · · · · · · ·THE WITNESS:· I'm sorry, I apologize.
·9· · speculation, vague.                                              ·9· · · · · · · · · ·MS. SPECTOR:· You're okay.
10· · · · ·A.· ·I mean, in my experience I have not seen an            10· · · · ·Q.· ·(BY MR. WHITE)· Have you had a chance to look
11· · impersonation on that form, but yes, I would say it              11· · at it?
12· · does.                                                            12· · · · · · · · · ·So Ms. Wise, can you --
13· · · · ·Q.· ·(BY MR. WHITE)· And how would you know if              13· · · · ·A.· ·Yes.
14· · somebody was impersonating a registered voter and                14· · · · ·Q.· ·-- read the title at the top of this page?
15· · requesting their ballot illegally?                               15· · · · ·A.· ·"Voter Information Field Guide".
16· · · · · · · · · ·MS. SPECTOR:· Object to form.                     16· · · · ·Q.· ·And can you read the bottom footer?
17· · · · ·A.· ·I mean, generally, when we would get the               17· · · · ·A.· ·The Exhibit 5 or the revised?
18· · ballot, have it sent to that location, the address of            18· · · · ·Q.· ·At the very bottom of Exhibit 5, can you read
19· · the registered voter.· If that person didn't ask it, we          19· · what it has on the document?
20· · -- we'll get calls and somebody might say -- we've had           20· · · · ·A.· ·"Revised 02/09/2021".
21· · this.                                                            21· · · · ·Q.· ·Are you familiar with this document?
22· · · · · · · · · ·We have had this happen, where somebody           22· · · · ·A.· ·Yes.
23· · requested an annual ballot, maybe in January, and then           23· · · · ·Q.· ·And what is your understanding of what this
24· · the ballot for the March election might come and they            24· · is?
25· · may say I don't remember that I requested this, and so           25· · · · ·A.· ·This explains what the categories are in the

                                                            Page 143                                                                 Page 145
·1· · we'll show them the form and they did.                           ·1· · voter -- in a -- in the voter registration system.
·2· · · · · · · · · ·So I would assume we would be either              ·2· · · · ·Q.· ·Does this show the information that the public
·3· · alerted to that, if a ballot was sent to an address that         ·3· · can obtain with a request to your office?
·4· · someone did not request it, and then once the ballot is          ·4· · · · · · · · · ·MS. SPECTOR:· Objection, vague.
·5· · returned, if it is, the signature verification on that.          ·5· · · · ·A.· ·I believe so, with the exception of the birth
·6· · · · ·Q.· ·(BY MR. WHITE)· And do you have any history of         ·6· · date.· There was a case, not 100 percent sure when, but
·7· · people complaining about receiving a ballot that they            ·7· · that's not, that's no longer included in our voter file
·8· · didn't request?                                                  ·8· · made available to the public.
·9· · · · · · · · · ·MS. SPECTOR:· Objection, vague.                   ·9· · · · ·Q.· ·(BY MR. WHITE)· So if I told you I pulled this
10· · · · ·A.· ·Just those few examples where maybe they               10· · off your website, is this out of date?
11· · forgot, but we have had people come down into our office         11· · · · ·A.· ·Probably.
12· · and actually review their application, and then they             12· · · · ·Q.· ·Do you --
13· · will.· We've never had someone say no, that's absolutely         13· · · · ·A.· ·I would have to double check.· I know that I
14· · not my signature.· When they come in, they -- they've            14· · -- what I remember that we could give the year but not
15· · all agreed yes, okay, I forgot that I sent this in, or I         15· · the full DOB, if I remember correctly.
16· · didn't know that.                                                16· · · · ·Q.· ·And you believe there is a case that made that
17· · · · · · · · · ·MR. JEFF WHITE:· It's been an hour in             17· · the requirement?
18· · this session.· Why don't we take a break here for a              18· · · · ·A.· ·I believe it was an AG opinion.· I don't
19· · little bit?                                                      19· · remember exactly about DOBs being public.
20· · · · · · · · · ·MS. SPECTOR:· Okay.                               20· · · · ·Q.· ·Do you remember about when that may have came
21· · · · · · · · · ·VIDEOGRAPHER:· We are off record at 2:15          21· · out?
22· · p.m.                                                             22· · · · ·A.· ·I don't, I'm sorry.
23· · · · · · · · · ·(Off the record.)                                 23· · · · ·Q.· ·So we talked in detail about the application
24· · · · · · · · · ·VIDEOGRAPHER:· We are back on record at           24· · for ballot by mail in the 2020 March primary.· So now I
25· · 2:32 p.m.                                                        25· · want to move to the situation where you've actually sent


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                                                       Page 214                                                                      Page 216
·1· · them.· I don't know if I would say that they were trying          ·1· · you believe fraud occurs in elections in El Paso County?
·2· · to register, since they marked on there not citizen,              ·2· · · · · · · · · ·MS. SPECTOR:· Object to form.
·3· · very few, I think I can think of three, so obviously we           ·3· · · · ·A.· ·In my experience in El Paso County and my
·4· · sent them a rejection notification stating that they are          ·4· · experience in -- in Douglas County in Nebraska, very
·5· · -- they marked non-citizen, we are not able to register,          ·5· · isolated incidents.
·6· · as directed by law.                                               ·6· · · · ·Q.· ·(BY MR. WHITE)· And do you -- strike that.
·7· · · · ·Q.· ·(BY MR. WHITE)· Have you ever identified                ·7· · · · · · · · · ·Do you think some voters in Texas think
·8· · individuals that have successfully registered to vote,            ·8· · that fraud occurs in elections?
·9· · and then later you found out that they were not                   ·9· · · · · · · · · ·MS. SPECTOR:· Object to form, calls for
10· · citizens?                                                         10· · speculation.
11· · · · · · · · · ·MS. SPECTOR:· Object to form.                      11· · · · ·A.· ·I do.
12· · · · ·A.· ·Not that I can recall.                                  12· · · · ·Q.· ·(BY MR. WHITE)· Do you hear from those voters
13· · · · ·Q.· ·(BY MR. WHITE)· Have you ever received any              13· · about their concerns about fraud?
14· · complaints about voters being paid to vote for a                  14· · · · · · · · · ·MS. SPECTOR:· Object to form.
15· · particular candidate?                                             15· · · · ·A.· ·I do.· However, it seems that steps that we've
16· · · · · · · · · ·MS. SPECTOR:· Object to form.                      16· · taken -- I mean, we used to get complaints about fraud
17· · · · ·A.· ·No.                                                     17· · dealing with the machines, now we have paper-based
18· · · · ·Q.· ·(BY MR. WHITE)· Are you aware of any                    18· · system, so that's -- you know, those are all -- have all
19· · allegations of that sort in El Paso County?                       19· · been basically handled.
20· · · · ·A.· ·No.                                                     20· · · · · · · · · ·So it -- it seems like we get kind of a
21· · · · ·Q.· ·In El Paso County do you have any issues with           21· · little pocket here of an issue and then it's --
22· · organizations that gather voter registration cards                22· · hopefully, it's gets resolved by either being
23· · providing invalid registrations?                                  23· · transparent or meeting with them, having them come lodge
24· · · · · · · · · ·MS. SPECTOR:· Objection, vague.                    24· · an accuracy test, explaining processes and then it's
25· · · · · · · · · ·MS. PERALES:· I'm sorry, could you repeat          25· · generally dropped.

                                                             Page 215                                                             Page 217
·1· · the question?· I can't hear, because you're --                    ·1· · · · ·Q.· ·(BY MR. WHITE)· So if citizens of Texas are
·2· · · · · · · · · ·MR. JEFF WHITE:· Oh, I'm sorry.                    ·2· · concerned about fraud, do you think it's a valid purpose
·3· · · · · · · · · ·MS. PERALES:· -- facing away from me, and          ·3· · of the legislature to take steps to reduce that concern,
·4· · your voice is getting softer.                                     ·4· · whether or not the fraud is actually happening or not?
·5· · · · · · · · · ·MR. JEFF WHITE:· Sorry.· I will say it.            ·5· · · · · · · · · ·MS. SPECTOR:· Object to form, calls for
·6· · · · ·Q.· ·(BY MR. WHITE)· Are you aware of any                    ·6· · legal conclusion, vague and calls for speculation.
·7· · organizations that collect voter registration                     ·7· · · · ·A.· ·I believe to take necessary steps, reasonable
·8· · information providing you with faulty information?                ·8· · steps, yes.
·9· · · · · · · · · ·MS. SPECTOR:· Objection, vague.                    ·9· · · · ·Q.· ·(BY MR. WHITE)· If voters are concerned about
10· · · · ·A.· ·No.                                                     10· · fraud, does that affect their confidence in the outcome
11· · · · ·Q.· ·(BY MR. WHITE)· Have you had any complaints in          11· · of elections?
12· · El Paso County about individuals providing assistance to          12· · · · · · · · · ·MS. SPECTOR:· Object to form, calls for
13· · voters but pressuring the voter to vote a certain way?            13· · speculation.
14· · · · · · · · · ·MS. SPECTOR:· Objection, vague, compound.          14· · · · ·A.· ·Yes.
15· · · · ·A.· ·We've had isolated incidences of someone                15· · · · ·Q.· ·(BY MR. WHITE)· So if the legislature takes
16· · calling and say I -- I think I heard someone tell him             16· · steps that reduce their concern about fraud, would the
17· · how to vote, or I was at the polling site and so and so           17· · result be that they would have greater confidence in the
18· · was telling their wife how to vote, those isolated                18· · outcome of elections?
19· · instance -- incidences, yes, but, you know, generally,            19· · · · · · · · · ·MS. SPECTOR:· Object to form, calls for
20· · we would call the judge and ask them, did you -- did you          20· · speculation.
21· · witness this, has this been an issue?· We haven't had             21· · · · ·A.· ·I think that's a pretty vague question. I
22· · anything substantiated on that.· It's nothing that we've          22· · think there's some steps that you -- that can be taken
23· · had documentation on.                                             23· · for that, to reach that, however, I don't know if, you
24· · · · ·Q.· ·(BY MR. WHITE)· So in your opinion as                   24· · know, voters also lose faith in the process if they
25· · elections administrator, based on your experience, do             25· · don't believe that their vote counts, or that they're


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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




               STATE DEFENDANTS’ BRIEF IN RESPONSE TO
          OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                               APPENDIX EE
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                Transcript of the Testimony of
                              Lisa Wise


                                  Date:
                             April 15, 2022



                                  Case:
LA UNION DEL PUEBLO ENTERO et al. vs GREGORY W. ABBOTT
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     Lisa Wise                                                             April 15, 2022
                                                                                        ·


·1· · · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · · SAN ANTONIO DIVISION

·3· · LA UNION DEL PUEBLO ENTERO )
· · · et al.,· · · · · · · · · · )
·4· · · · ·Plaintiffs,· · · · · ·)
· · · · · · · · · · · · · · · · ·)
·5· · v.· · · · · · · · · · · · ·) Civil Action No. SA-21-CV-
· · · · · · · · · · · · · · · · ·)· · · ·00844-XR
·6· · GREGORY W. ABBOTT, et al., )
· · · · · ·Defendants.· · · · · ·)
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· · · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF
10· · · · · · · · · · · · · · LISA WISE
· · · · · · · · · · · · · ·APRIL 15, 2022
11· · · · · · · · · · · · · · Volume 1

12· · · · · · -----------------------------------------

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16· · · · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF LISA

17· · WISE· produced as a witness at the instance of Plaintiff,

18· · and duly sworn, was taken in the above-styled and

19· · numbered cause on the 14th day of April, 2022 from 9:06

20· · a.m. to 5:05 p.m., before Nancy Newhouse, a Certified

21· · Shorthand Reporter in and for the State of Texas,

22· · reported by oral shorthand, located at the 500 East San

23· · Antonio, Room 503, El Paso, Texas 79901, pursuant to the

24· · Federal Rules of Civil Procedure, and the provisions

25· · stated on the record or attached hereto.


     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
     210-697-3400                                                             210-697-3408
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·1· · · · ·A.· ·I don't believe that we contacted our vendor.          ·1· · · · ·A.· ·Correct.
·2· · We -- we can import that list into -- into our system            ·2· · · · ·Q.· ·And if the worker saw, for example, no
·3· · without, I believe, going through there, unless there's          ·3· · driver's license or last four of the social for that
·4· · fields that weren't created yet or something like that,          ·4· · voter, what would the worker do with the application for
·5· · so I believe we did that internally.                             ·5· · ballot by mail right in that moment?
·6· · · · ·Q.· ·(BY MS. PERALES)· And so when you import that          ·6· · · · ·A.· ·You would mark it as pending, and we would --
·7· · update into your system, would that have to be done              ·7· · we would send them a notice, a notification, letting
·8· · individually by voter, or could it come as a multiple-           ·8· · them know that this information was missing, with a
·9· · voter input to you?                                              ·9· · clean application, eventually, with a voter registration
10· · · · · · · · · ·BY MS. SPECTOR:· Object to form.                  10· · form, so if they wanted to match that up, and -- and
11· · · · ·A.· ·I believe as one -- one report, we would do            11· · mail it back out.
12· · one action to import it.                                         12· · · · ·Q.· ·Okay.· And would you do that immediately, or
13· · · · ·Q.· ·(BY MS. PERALES)· Do you know if that update           13· · would you put that application for ballot by mail or
14· · information was provided to El Paso County in a way that         14· · mail ballot to the side, to wait a day or so to check
15· · you could import it?                                             15· · the ballot tracker and see if you could get updated
16· · · · · · · · · ·MS. SPECTOR:· ·Object to form.                    16· · information that way?
17· · · · ·A.· ·I believe so; how -- I -- however, I have to           17· · · · ·A.· ·We were turning them around in about 24 to 48
18· · say I'm not 100 percent sure.                                    18· · hours; however, we still were tracking -- we were still
19· · · · ·Q.· ·(BY MS. PERALES)· So is it your best                   19· · checking ballot tracker one by one on pending or
20· · understanding that El Paso County did, in fact, receive          20· · rejected, to see if those had -- had been updated.
21· · and import that update from the Secretary of State?              21· · · · ·Q.· ·Okay.· So when you were sending the voter the
22· · · · · · · · · ·MS. SPECTOR:· Object to form.                     22· · notice that you -- you were unable to confirm the number
23· · · · ·A.· ·Yes.                                                   23· · on their application for ballot by mail, for example,
24· · · · ·Q.· ·(BY MS. PERALES)· And it is -- is it also fair         24· · would you enclose that original application for ballot
25· · to say that, after that update, you still had many               25· · by mail in the mailing back to the voter, or would you

                                                             Page 35                                                              Page 37
·1· · voters for whom you were unable to match information             ·1· · hang onto the application for ballot by mail?
·2· · that they provided on their application for ballot by            ·2· · · · ·A.· ·We would hang on to that.· But the
·3· · mail, or mail ballot related to ID number?                       ·3· · notification also informed them how they could get on
·4· · · · · · · · · ·MR. JEFFREY WHITE:· Objection, form.              ·4· · ballot tracker.· So honestly, until we sent them that
·5· · · · ·A.· ·Yes.                                                   ·5· · notification, the voter real -- wasn't aware that they
·6· · · · ·Q.· ·(BY MS. PERALES)· Yesterday you mentioned that         ·6· · -- their ballot -- ballot tracker existed.· So we would
·7· · when you had either an application for ballot by mail or         ·7· · keep it, we would send them a clean copy with the
·8· · mail ballot with a number that you could not match, that         ·8· · notification and -- and how they could get on the ballot
·9· · you would go into TEAM and see if there was an update on         ·9· · tracker, if they wanted, or just send in a new
10· · that voter's ID number information, is that correct?             10· · application.
11· · · · ·A.· ·We would go into the ballot tracker.· That was         11· · · · ·Q.· ·So because you retained the applications for
12· · the -- I'm sorry, if I said TEAM I meant ballot tracker.         12· · ballot by mail, you were able then to both notify the
13· · · · ·Q.· ·Probably my mistake in note-taking.                    13· · voter, but maybe also use that document to check in a
14· · · · · · · · · ·So I want to walk you through those steps         14· · day or so against the ballot tracker, to see if the
15· · from when you received the application for ballot by             15· · information had been updated?
16· · mail or mail ballot.                                             16· · · · ·A.· ·Correct.
17· · · · · · · · · ·So if you can think about that time               17· · · · ·Q.· ·How many times would you check for, let's say,
18· · leading up to the March 2022 primary election, and your          18· · one particular application for ballot by mail, was it
19· · office or one of your workers would receive an                   19· · just after that couple of days later, then you would
20· · application for ballot by mail, and there would be an ID         20· · just put it aside if you still couldn't match it?
21· · number written on there, that worker would then look up          21· · · · ·A.· ·No.· We'd continue to check until we basically
22· · the voter, is that how it would work?                            22· · had no more time to check.· We -- we asked for reports,
23· · · · ·A.· ·Correct.                                               23· · you know, or, I mean, we were kind of doing two things.
24· · · · ·Q.· ·That worker would be looking up the voter in           24· · We were asking reports for the SOS, we were also trying
25· · the El Paso County system, is that right?                        25· · to get our vendor to work with that system, to give us


Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900                                           San Antonio, Texas 78232
210-697-3400                                                                                                     210-697-3408               YVer1f
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




               STATE DEFENDANTS’ BRIEF IN RESPONSE TO
          OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                               APPENDIX FF
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     Lisa Wise                                                            April 18, 2023
                                                                                       ·


·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT

·2· · · · · · · FOR THE WESTERN DISTRICT OF TEXAS

·3· · · · · · · · · · SAN ANTONIO DIVISION

·4· LA UNION DEL PUEBLO· · · · · )
· · ENTERO, et al.,· · · · · · · )
·5· · · · · · · · · · · · · · · ·)
· · · · · · · · · ·Plaintiffs,· ·)
·6· · · · · · · · · · · · · · · ·)
· · vs.· · · · · · · · · · · · · )
·7· · · · · · · · · · · · · · · ·) NO. 5:21-cv-844-XR
· · GREGORY W. ABBOTT, et al.,· ·)
·8· · · · · · · · · · · · · · · ·)
· · · · · · · · · ·Defendants.
·9· · · · · · ·-----------------------------------

10· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF

11· · · · · · · · · · · · · LISA WISE

12· · · · · · · · · · · ·April 18, 2023

13· · · · · · · · · · ·(REMOTELY REPORTED)

14· · · · · · ·-----------------------------------

15· · · ·The Oral and Videotaped Deposition of LISA WISE,

16· produced as a witness at the instance of the defendant,

17· and duly sworn, was taken in the above-styled and

18· numbered cause on the 18th of April, 2023 from 9:13 a.m.

19· to 3:27 p.m., in and for the State of Texas, reported by

20· machine shorthand, conducted El Paso County Courthouse

21· 500 E. San Antonio, 5th Floor, Suite 503 El Paso, Texas

22· 79901, pursuant to the Federal Rules of Civil Procedure

23· and the provisions stated on the record or attached

24· hereto.

25
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Lisa Wise                                                                                                          April 18, 2023
                                                                                                                   Pages 38 to 41
                                                             Page 38                                                            Page 40
·1· · · ·Q.· (BY MS. HUNKER)· That's a good question --                ·1· the system; is that correct?
·2· that's a good distinction.                                         ·2· · · ·A.· Correct.
·3· · · · · · · · ·So you receive applications for ballots by          ·3· · · ·Q.· And in the event the number is not in your
·4· mail weeks, if not months, in advance of an election,              ·4· system, do you check the TEAMS database?
·5· correct?                                                           ·5· · · ·A.· We do.
·6· · · ·A.· Correct.                                                  ·6· · · ·Q.· So you mentioned that you send out an insert
·7· · · ·Q.· Okay.· So let's talk then first about the ones            ·7· for the applications for ballot by mail.· In the event
·8· that are received well before the election -- before               ·8· that there was a defect due to the numbers not appearing
·9· the -- the ballots go out.                                         ·9· in the system, do you also send out a voter registration
10· · · · · · · · When does your office check to determine             10· form with the notice of defect?
11· whether or not the application for ballot by mail                  11· · · ·A.· We do.
12· satisfied the ID number requirement after it arrived?              12· · · ·Q.· And that is because a voter can update the ID
13· · · · · · · · MS. LEBEL:· Object to form.                          13· numbers for the voter registration file by submitting a
14· · · ·A.· Usually that day or the next business day.                14· voter registration form; is that correct?
15· Depending on, obviously, how many we have.                         15· · · ·A.· Correct.
16· · · ·Q.· (BY MS. HUNKER)· And how long from that does it           16· · · ·Q.· And did you notice that sending a voter
17· take to issue a notice of defect in the event that the             17· registration form along with the notice of defect helped
18· number did not match?                                              18· the voter cure?
19· · · · · · · · MS. LEBEL:· Object to form.                          19· · · · · · · · MS. LEBEL:· Object to form.
20· · · ·A.· I would say 24 to 48 hours.                               20· · · ·A.· Yes.
21· · · ·Q.· (BY MS. HUNKER)· So is it fair to say that if             21· · · ·Q.· (BY MS. HUNKER)· And so I want to talk now
22· an application for ballot by mail arrives in your                  22· about the ballot by mail.
23· office, a notice of defect will go out within 24 to 48             23· · · ·A.· Okay.
24· hours in the event that that application for ballot by             24· · · ·Q.· Federal law requires that ballots by mail go
25· mail did not satisfy the ID number requirements?                   25· out 45 days to military and overseas voters before a

                                                           Page 39                                                             Page 41
·1· · · · · · · · MS. LEBEL:· Object to form.                          ·1· federal election, correct?
·2· · · ·A.· Yes.· Now, if we have a lot of them, I mean,              ·2· · · · · · · · MS. LEBEL:· Object to form.
·3· that's a separate issue.· I mean, it could be three                ·3· · · ·A.· Correct.
·4· days, it could be 72 hours.· But in general, I would say           ·4· · · ·Q.· (BY MS. HUNKER)· Did your office meet that
·5· two days.· I would say 48 hours.                                   ·5· deadline this -- for the November 2022 General Election?
·6· · · ·Q.· (BY MS. HUNKER)· Is it fair to say that you try           ·6· · · ·A.· Yes.
·7· to get the notice of defect out as fast as possible to             ·7· · · ·Q.· And when did the ballots go out for voters who
·8· inform the voter of the need to cure?                              ·8· were not military or overseas?
·9· · · ·A.· Yes.                                                      ·9· · · ·A.· They got out the next week.· Sometimes it's
10· · · ·Q.· And is that true for applications that arrive             10· four days later, sometimes it's five days later, but
11· closer to the election?                                            11· they go within the next week following the military and
12· · · · · · · · MS. LEBEL:· Object to form.                          12· overseas.
13· · · ·A.· Yes.                                                      13· · · ·Q.· And when a ballot by mail comes in, does your
14· · · ·Q.· (BY MS. HUNKER)· And if an application for                14· office remove the flap to check whether or not the ID
15· ballot by mail arrives and it has a defect other than an           15· number was included on the carrier envelope?
16· ID number related issue, how long does that take to go             16· · · ·A.· Yes.
17· out?                                                               17· · · ·Q.· And does your office check that number against
18· · · · · · · · MS. LEBEL:· Object to form.                          18· the system?
19· · · ·A.· Same time.                                                19· · · · · · · · MS. LEBEL:· Object to form.
20· · · ·Q.· (BY MS. HUNKER)· And you are an offline county,           20· · · · · · · · MS. HUNKER: Let me rephrase that.
21· correct?                                                           21· · · ·Q.· (BY MS. HUNKER)· Does your office check the ID
22· · · ·A.· We're an offline county.                                  22· number on the carrier envelope to the voter's
23· · · ·Q.· So when an application for ballot by mail comes           23· registration file?
24· in, your office first checks your offline county                   24· · · ·A.· Yes.
25· database system to determine whether the ID number is in           25· · · ·Q.· How does your office contact the voter to




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·1· Administrator account?                                           ·1· anything on the insert?
·2· · · ·A.· Yes.· It's El Paso County Elections.                    ·2· · · ·A.· No.
·3· · · ·Q.· Were any of the groups you spoke with -- you            ·3· · · ·Q.· And then for social media, were you also coming
·4· know, you gave the example of rotary groups -- were any          ·4· up with the content for that?
·5· of those in Spanish?                                             ·5· · · ·A.· Yes.
·6· · · ·A.· None that I spoke to, no.                               ·6· · · ·Q.· Did you consult with the SOS on your voter
·7· · · ·Q.· More broadly with your office, do you know if           ·7· education efforts in any way beyond the insert?
·8· there were any?                                                  ·8· · · ·A.· No.
·9· · · ·A.· I know that when we did the -- like, our voter          ·9· · · ·Q.· Were you aware during the General Election
10· registration drives, both of -- we have Spanish speakers         10· period of the voter education efforts conducted by the
11· at those, and I know that they did address that with             11· Secretary of State?
12· people that had questions and things like that.                  12· · · · · · · · MS. LEBEL:· Object to form.
13· · · · · · · · So I know they were able to communicate if         13· · · ·A.· I'm aware that they had mentioned that that was
14· somebody brought that question up in Spanish at those            14· going to be a component.
15· locations, but -- those events.· But when I would speak          15· · · · · · · · But as far as voter education, we would
16· at events, no.                                                   16· receive our advisories, but I did not -- I was not
17· · · ·Q.· I think you said you did not have any paid              17· seeing anything out in the -- I guess, in the public if
18· media in connection with the November 2022 General,              18· that's what you're asking.
19· right?                                                           19· · · ·Q.· (BY MR. STEWART)· Yeah.· Maybe I'll ask it more
20· · · ·A.· Correct.                                                20· crisply, you know.
21· · · ·Q.· Who developed the content of this outreach?             21· · · · · · · · Did you notice the presence of the
22· Let's take them one at a time.                                   22· Secretary of State's voter education efforts during the
23· · · · · · · · So we'll start with, you know, what you're         23· General Election?
24· going to say in an in-person town hall, you know, who            24· · · · · · · · MS. HUNKER:· Objection.· Form.
25· comes up with the content for that?                              25· · · · · · · · MS. LEBEL:· Object to form.

                                                           Page 87                                                             Page 89
·1· · · · · · · · MS. LEBEL:· Object to form.                        ·1· · · ·A.· I remember a press release.· And that's --
·2· · · ·A.· Generally I do.· When -- and it's basically             ·2· that's what I remember.
·3· based off of the insert and things like that, which I            ·3· · · ·Q.· (BY MR. STEWART)· Okay.· Did you receive any
·4· created in conjunction with our County Attorney's Office         ·4· feedback from voters regarding the voter education
·5· to make sure there wasn't any issue with that.· And then         ·5· efforts you undertook?
·6· also, share that with the SOS, just to let them know             ·6· · · ·A.· Yes.· I mean, I know that they did appreciate
·7· that we were doing that and -- so they knew that that            ·7· the insert, and we -- especially with the ballot, where
·8· was something we were promoting.                                 ·8· we would send the picture of what the envelope would
·9· · · ·Q.· (BY MR. STEWART)· Did the SOS, and I assume you         ·9· look like and highlight where they were supposed to
10· mean the Secretary of State --                                   10· actually fill it in and send the screenshot.· I know
11· · · ·A.· Yes, yes --                                             11· that people -- we did get positive feedback on that.
12· · · ·Q.· Yeah, just for the record.                              12· · · ·Q.· Did you hear from any voters who were
13· · · · · · · · Did the SOS have any feedback on the               13· continuing to struggle with the ID number requirements
14· insert?                                                          14· during the General Election?
15· · · ·A.· I think they supported that.· I mean, you know,         15· · · · · · · · MS. LEBEL:· Object to form.
16· we had had those conversations that other counties were          16· · · · · · · · MS. HUNKER:· Object to form.
17· also doing some inserts.· And that's kind of where we            17· · · ·A.· Yes, we did.
18· got the idea, too.· So I believe they were in favor of           18· · · ·Q.· (BY MR. STEWART)· About how many?
19· it.                                                              19· · · · · · · · MS. LEBEL:· Object to form.
20· · · ·Q.· Did you pattern your insert off another county?         20· · · ·A.· That's really tough to -- to give.· I didn't
21· · · · · · · · MS. LEBEL:· Object to form.                        21· keep -- I didn't keep track of that.· We would get some
22· · · ·A.· No, I don't think we did.· We may have picked           22· calls, and I -- I don't know the number.
23· from a couple that we saw that we liked, but we really           23· · · ·Q.· (BY MR. STEWART)· Was it primarily by phone?
24· drafted that on our own with our attorneys.                      24· · · · · · · · MS. LEBEL:· Object to form.
25· · · ·Q.· (BY MR. STEWART)· Did the SOS ask you to change         25· · · ·A.· Primarily by phone.· We would -- we would get




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·1· maybe something on an application, a little note like,          ·1· · · ·Q.· That did not begin during the General --
·2· why do I have to fill this out, like, something like            ·2· right -- that predated the General?
·3· that.· But mostly phone.                                        ·3· · · ·A.· That predated the General.
·4· · · ·Q.· (BY MR. STEWART)· Was most of that feedback            ·4· · · ·Q.· Why did you continue to give that advice?
·5· regarding the ID requirement?                                   ·5· · · ·A.· We had done that about -- we didn't do it
·6· · · · · · · · MS. LEBEL:· Object to form.                       ·6· initially in March until we started to see these -- you
·7· · · · · · · · MS. HUNKER:· Objection.· Form.                    ·7· know, these rejection rates and these -- coming back, so
·8· · · ·A.· Was the feedback about the ID requirement              ·8· then we started to include it, I would say about,
·9· regarding the ID?                                               ·9· halfway through the actual process in -- for the March
10· · · ·Q.· (BY MR. STEWART)· Yeah.· I guess that's -- let         10· election.
11· me --                                                           11· · · · · · · · So basically we just said, look, let's --
12· · · ·A.· Sorry.                                                 12· let's not wait for an application to be rejected, let's
13· · · ·Q.· -- strike that question and make -- make it            13· just give them all this information at the very
14· much clearer.                                                   14· beginning.· So we -- if somebody asked us for, you know,
15· · · · · · · · I guess I would say, what portion of the,         15· an application, then with the application we would send
16· you know, overall feedback you received from voters             16· them that information.
17· during the General Election period pertained to the ID          17· · · · · · · · Now, people can also get an application on
18· requirement?                                                    18· our website or they could get it from a party.· You
19· · · · · · · · MS. LEBEL:· Object to form.                       19· know, there might be other entities that send out the
20· · · · · · · · MS. HUNKER:· Object to form.                      20· application.· We can't control that they didn't have the
21· · · ·A.· It's hard for me to really quantify that,              21· insert or any of that information in there, and so we
22· honestly.· Because, like I said, we really didn't               22· may still receive applications that were not -- that
23· keep -- keep track of it in, like, how many calls we got        23· didn't comply with that requirement.
24· about the ID.· But we did still spend a lot of time             24· · · ·Q.· Were there any ways besides the insert that you
25· explaining ID -- ID requirements to -- to voters that           25· transmitted that message to voters?

                                                          Page 91                                                            Page 93
·1· were on it to vote by mail.                                     ·1· · · · · · · · MS. LEBEL:· Object to form.
·2· · · ·Q.· (BY MR. STEWART)· Did you generate any topics          ·2· · · · · · · · MS. HUNKER:· Object to form.
·3· for future voter education based on what you were               ·3· · · ·A.· The social media, the -- you know, what we did
·4· hearing from voters?                                            ·4· with interviews.· Anything we could, we would try to get
·5· · · ·A.· So generally we do a pretty robust media               ·5· that information out.· But frankly, you know, the best
·6· package for presidential years 'cause we always have            ·6· bang for the buck was with the application because they
·7· something that comes up.                                        ·7· were, we know, going to fill that out, and it was there
·8· · · · · · · · For example, in 2024 -- I'm sorry.· In            ·8· included in the packet.
·9· 2020, we had the pandemic.· So in 2024, we will, again,         ·9· · · · · · · · MR. STEWART:· I want to use -- I think
10· do a media package, and one of the components will be           10· we're on number 5?
11· the identifier.· We will really try to replace some of          11· · · · · · · · THE REPORTER:· Yes.
12· that pandemic language with the -- the identifier, the          12· · · ·Q.· (BY MR. STEWART)· And I don't want to rush you
13· changes, and, frankly, any major changes that come out          13· reading it, but, in general, do you recognize this
14· of this legislative session.                                    14· document?
15· · · · · · · · So we -- we try to do that because we have        15· · · ·A.· Yes.
16· a lot of voters who do only vote every four years, and          16· · · ·Q.· And what is this?
17· we like to -- you know, we don't have an endless budget,        17· · · ·A.· This is our application for ballot by mail.
18· so we kind of put that all in -- what we can in the             18· · · ·Q.· And your office uses the standard ABBM prepared
19· presidential years.                                             19· by the Secretary of State, correct?
20· · · ·Q.· I -- I believe you've already said, correct me         20· · · ·A.· We do.
21· if I'm wrong, that at some point, your office began             21· · · ·Q.· And you would agree that the portion that
22· advising voters to put both their driver's license or ID        22· implements the ID number requirement is below the
23· number and their Social Security number on mail ballot          23· bold -- or the capital letters, rather, you must provide
24· materials; is that correct?                                     24· one and then lower case of the following numbers?
25· · · ·A.· Correct.                                               25· · · ·A.· Yes.




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·1· · · · · · · · Let me put it this way; during the                  ·1· · · ·Q.· So when you say that the election was
·2· November 2022 General Election cycle, did El Paso County          ·2· successful, was that making any comment on, you know,
·3· do any investigation of whether the ID numbers, so                ·3· whether the mail ballots rejection rate was acceptable?
·4· driver's license, SSN, and ID number, contained in VOTEC          ·4· · · · · · · · MS. HUNKER:· Object to form.
·5· are accurate?                                                     ·5· · · · · · · · MS. LEBEL:· Object to form.
·6· · · · · · · · MS. LEBEL:· Object to form.                         ·6· · · ·A.· I don't think so.· I think it's just, to me,
·7· · · · · · · · MS. HUNKER:· Object to form.                        ·7· did we do the best we could with what we had?· And
·8· · · ·A.· So, like, specifically check if, like, my                ·8· that's, I guess, how I kind of looked at it.
·9· driver's license matches what the DPS gave the State?             ·9· · · ·Q.· (BY MR. STEWART)· And I think you also
10· · · ·Q.· (BY MR. STEWART)· Yes.                                   10· testified earlier that you weren't aware of any voters
11· · · ·A.· No.                                                      11· who were unable to vote because of SB1; is that right?
12· · · ·Q.· Did you conduct any investigation like that for          12· · · ·A.· Correct.
13· El Paso County voters located in TEAM?                            13· · · ·Q.· That doesn't include voters having their mail
14· · · ·A.· No.                                                      14· ballots rejected because of the identification number
15· · · ·Q.· Earlier today, I believe counsel asked you               15· requirement, correct?
16· whether the November 2022 General Election was                    16· · · ·A.· Correct.
17· successful in El Paso County, specifically as it relates          17· · · ·Q.· How did you understand -- so, let me strike
18· to mail balloting; is that right?                                 18· that.
19· · · ·A.· Yes.                                                     19· · · · · · · · What did you include in not able to vote
20· · · ·Q.· And you said it was successful, right?                   20· then when you were asked that question?
21· · · ·A.· Yes.                                                     21· · · ·A.· I'm sorry?
22· · · ·Q.· How do you define success in this circumstance?          22· · · ·Q.· Sure.
23· · · ·A.· So -- it -- when I would look at success, I              23· · · · · · · · When counsel asked you, you know, were any
24· mean, that was kind of a question I asked, is that I              24· voters unable to vote, how did you determine whether
25· would say, you know, were we have -- was there anything           25· someone was unable to vote?

                                                           Page 119                                                           Page 121
·1· that violated the code?· Was there anything that stood            ·1· · · ·A.· You know, I guess a final rejection on a
·2· out that was obviously we'd done something wrong and              ·2· ballot, that if they had sent that and they weren't able
·3· that kept voters from voting?· You know, those kinds of           ·3· to cure in time, if we didn't get in touch with them.
·4· things is how I guess I would deem that.                          ·4· We did hear from a few voters where we sent their ballot
·5· · · ·Q.· So were you answering it from the standpoint of          ·5· back to be cured, and they thought it was just a second
·6· the El Paso County Election Administration's                      ·6· ballot, and so they didn't open it.· I do remember two
·7· administration of the election?                                   ·7· voters specifically that called our office that said, I
·8· · · ·A.· Yes.                                                     ·8· tossed that ballot because I thought that was a second
·9· · · ·Q.· Do you believe there were areas for                      ·9· ballot and you just sent me another ballot.
10· improvement?                                                      10· · · · · · · · And so, I mean, those -- obviously those
11· · · ·A.· Yes.                                                     11· voters didn't vote, and they thought they had voted
12· · · ·Q.· What were those?                                         12· because they did not take the -- they did not open up
13· · · ·A.· There's always things I know that we can do              13· the notice of defect.· So those, you know, little kind
14· better.· I think that in -- with regards to -- we did             14· of pockets out there.
15· have to send out a corrected ballot.· I know we                   15· · · ·Q.· So those are people you would characterize as
16· mentioned that earlier.· We -- I believe there's things           16· unable to vote in the past election?
17· we could be quicker on.· I mean, I know sometimes we get          17· · · ·A.· Well, they thought they did, and they didn't.
18· stuff out in 48 hours.· With the sheer volume, sometimes          18· So --
19· we can't get stuff out in 24 hours.· I'd love to have             19· · · ·Q.· Sure.
20· our staff trained even better, having more knowledge on           20· · · · · · · · MR. STEWART:· Can we go off the record for
21· the Election Code.                                                21· two minutes?
22· · · · · · · · So there's always a couple of things I'd            22· · · · · · · · MS. LEBEL:· Yup.
23· love to see us do a little bit differently.· Have more            23· · · · · · · · THE VIDEOGRAPHER:· The time is 1:36 p.m.
24· money.· I'd love to do a media package every election,            24· And we're off the record.
25· every general election.· Those are our wish list, so --           25· · · · · · · · (A recess was taken.)




                                                                                                                                           YVer1f
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Lisa Wise                                                                                                           April 18, 2023
                                                                                                                  Pages 174 to 177
                                                        Page 174                                                                   Page 176
·1· · · ·Q.· Did any nonprofit group contact your office               ·1· that correct?
·2· about concerns over the voting assistance oath?                    ·2· · · ·A.· I've seen a press release, I believe -- that I
·3· · · · · · · · MS. LEBEL:· Object to form.                          ·3· remember seeing.· And we received documents informing us
·4· · · ·A.· I don't believe so.                                       ·4· as election administrators, but I do not remember seeing
·5· · · ·Q.· (BY MS. HUNKER)· Do you recall talking to                 ·5· anything for a voter besides the press release.
·6· counsel about a person in your staff who handled notices           ·6· · · ·Q.· Were you specifically looking for the Secretary
·7· of defects?                                                        ·7· of State's voting education material?
·8· · · ·A.· Yes.                                                      ·8· · · ·A.· No.
·9· · · · · · · · MS. LEBEL:· Object to form and to the                ·9· · · ·Q.· And when you were saying that you were
10· extent this is concerning any communications with your             10· receiving notifications from the Secretary of State's
11· attorneys on the basis of privilege.· You said talked to           11· Office, can you maybe describe in a little bit more
12· counsel.                                                           12· detail what was in those communications?
13· · · · · · · · MS. HUNKER:· Oh, so let me clarify.                  13· · · ·A.· Sure.
14· · · ·Q.· (BY MS. HUNKER)· Do you recall during this                14· · · · · · · · We would receive, like, copies of the press
15· deposition opposing counsel asking you about a person in           15· release, you know, Secretary of State announces, changes
16· your office who handled notices of defects?                        16· via SB1, updated poll watcher training, those things.
17· · · ·A.· Yes.                                                      17· We would get those notifications in our -- to our email.
18· · · ·Q.· Did that person handle notifying voters who had           18· · · ·Q.· Did you use any of the Secretary of State's
19· detects other than the ID requirement -- the ID number             19· voting education materials in your own voter education
20· requirement?                                                       20· outreach?
21· · · ·A.· Yes.                                                      21· · · ·A.· I don't believe so.
22· · · ·Q.· Would it be fair to say that she handled                  22· · · · · · · · MS. HUNKER:· No further questions.
23· implementing the cure provisions in Senate Bill 1?                 23· · · · · · · · MS. LEBEL:· Can we take 5 to 10 minutes off
24· · · · · · · · MS. LEBEL:· Object to form.                          24· the record?
25· · · ·A.· Yes.                                                      25· · · · · · · · THE VIDEOGRAPHER: The time is 3:16 p.m.,

                                                            Page 175                                                            Page 177
·1· · · ·Q.· (BY MS. HUNKER)· Do you recall earlier in the             ·1· and we're off the record.
·2· deposition opposing counsel asking whether you thought             ·2· · · · · · · · (A recess was taken.)
·3· the number of voters who had their ballot rejected due             ·3· · · · · · · · THE VIDEOGRAPHER: The time is 3:36 p.m.
·4· to missing or mismatched ID numbers would ever be zero?            ·4· We're back on the record.
·5· · · ·A.· Yes.                                                      ·5· · · · · · · · MS. LEBEL:· I don't have any questions.· So
·6· · · ·Q.· Do you believe that the number of voters who              ·6· the witness is ready to review and sign.
·7· had their ballot rejected due to missing or mismatched             ·7· · · · · · · · MS. HUNKER:· Just before we do, does the
·8· signature will ever be zero?                                       ·8· intervenor defendants have any questions they want to
·9· · · · · · · · MS. LEBEL:· Object to form.                          ·9· ask?
10· · · ·A.· No.                                                       10· · · · · · · · MR. CORE:· We have no questions.· Thank
11· · · ·Q.· (BY MS. HUNKER)· And so I want to clarify a               11· you.
12· question that I had asked earlier based on the opposing            12· · · · · · · · MR. STEWART:· I have no further questions.
13· counsel's subsequent question.                                     13· · · · · · · · MS. PERALES:· No questions here.
14· · · · · · · · To the best of your knowledge, you're not            14· · · · · · · · MS. HUNKER:· All right.
15· aware of any voters who were unable to vote in-person in           15· · · · · · · · THE VIDEOGRAPHER:· This concludes the
16· El Paso County during the November 2022 General Election           16· deposition.· Time is 3:27 p.m.· We are now off the
17· because of SB1 or any of its provisions, correct?                  17· record.
18· · · · · · · · MS. LEBEL:· Object to form.                          18· · · · · · · · (The deposition concluded.)
19· · · ·A.· Not that I know of.                                       19
20· · · ·Q.· (BY MS. HUNKER)· Do you recall discussing the             20
21· Secretary of State's voter education program with                  21
22· counsel -- opposing counsel earlier in this deposition?            22
23· · · ·A.· Yes.                                                      23
24· · · ·Q.· And do you recall stating that you had not seen           24
25· the Secretary of State's voter education materials; is             25
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




               STATE DEFENDANTS’ BRIEF IN RESPONSE TO
          OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                               APPENDIX GG
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                                                 December 3,2018

          The Honorable                                                                    exhibit
          Bryan Hughes, Chair
          Senate Select Committee
              on Election Security
          P.O. Box 12068
          Austin, TX 78711

          Dear Chair Hughes;

          Thank you for your leadership as Chair of the Senate Select Committee on Election
          Security. It is my privilege to serve with you, and I appreciate the opportunity to
          share my perspective regarding the Committee's Interim Report to the 86"'
          Legislature. Tlie report includes numerous good recommendations, and I am
          delighted to sign it. This letter, however, is to record my concerns regarding the
          need to (1.) provide concrete recommendations to address mail-in ballot fraud and
          (2.) reflect that Texas lags behind much of the nation in modernizing and
          simplifying the registration process, which is critical in offering adequate
          opportunities for all Tex ans to register to vote.

          During the last several sessions many legislators have focused on voter ID laws
          intended to prevent in-person voter fraud, but not on the increasingly serious
          problem of mail-in ballot fraud. Our Committee heard troubling testimony
          regarding the state of election security related to the latter. The report's
          recommendation that the Legislature needs to find a solution to the "vexing issue"
          of mail-in ballot fraud at nursing homes and assisted living facilities is a good start,
          but we must take all possible steps to address voting irregularities caused by
          fraudulent mail-in ballots.


          The report also states that current federal and state laws governing Texas' voter
          registration system "create a broad base of opportunity for registration for all
          Texans" and describes how eligible persons may register to vote. It does not
          mention, however,that we have not adopted secure voter registration reforms that



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December 3,2018
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many other states have,Texas, for example, is one ofonly thirteen states that does
not offer online registration. The Legislature should consider this and other secure
methods to facilitate voter registration.

Thank you for your dedication to the many important issues we examined during
the 85^ Interim. I look forward to continuing to work with you and other members
ofthe committee during our next legislative session.

May God bless you.

Very truly yours,



Judith Zaffirini


Z/ah
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




               STATE DEFENDANTS’ BRIEF IN RESPONSE TO
          OCA-GH PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



                              APPENDIX HH
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